                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                           Civil Action No. 1:22-CV-00101


     WEI JIANG, M.D.,                              )
                                                   )
            Plaintiff,                             )
                                                   )          AMENDED
     v.                                            )         COMPLAINT
                                                   )
     DUKE UNIVERSITY, DUKE
     UNIVERSITY HEALTH SYSTEM,                     )   (Jury Trial Demanded)
     MOIRA RYNN, M.D, in her individual            )
     and official capacity, and MARY E.            )
     KLOTMAN, in her individual and official       )
     capacity,                                     )
                                                   )
            Defendants.

          NOW COMES Plaintiff, Wei Jiang, by and through the undersigned

counsel and complaining of the Defendants, says as follows:

                            NATURE OF THE ACTION

1.        This is an action by Plaintiff under 42 U.S.C. § 1981 to correct unlawful

and intentional employment practices including harassment, intentional

discrimination, and retaliation by all of the Defendants against Plaintiff on the

basis of Plaintiff’s ancestry and ethnic characteristics, including her race, and

to recover all damages permitted by law for the same.




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2.     This is also an action under Title VII of the Civil Rights Act of 1964, as

amended, (42 U.S.C. § 2000e et seq.) to correct unlawful employment practices

including harassment, discrimination, and retaliation by Defendant Duke

University (Duke or DU) and Defendant Duke University Health System

(DUHS) against Plaintiff on the basis of her race, national origin, color, and

sex, and to recover all damages permitted by law for the same, including

punitive damages under § 1981(a).

3.     This is also an action under the Age Discrimination in Employment Act,

as amended, (ADEA”) (29 U.S.C. § 623 et seq.) to correct unlawful employment

practices including harassment, discrimination, and retaliation by Defendant

Duke and Defendant DUHS against Plaintiff on the basis of her age and to

recover all damages permitted by law for the same.

                 PARTIES, JURISDICTION AND VENUE

4.     Plaintiff was employed by Defendants Duke University (DU) and the

Duke University Health System (DUHS) at the time of the acts alleged in this

Complaint.

5.     Defendant DU has been and is now a body politic and corporate, is

capable of suing and being sued, and is located in Durham County, North




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Carolina. Duke employed Plaintiff at all relevant times in this Complaint. It

has delegated the authority to operate a non-profit health care system to

Defendant DUHS as stated in Exhibit A to its Articles of Restatement filed

with the N.C. Secretary of State’s office on June 26, 2020, effective July 1, 2020.

(Exhibit 1, p4, § VI.B.)

6.     Defendant DUHS has been and is a body politic and corporate, is capable

of suing and being sued, and is located in Durham County, North Carolina.

According to Exhibit 1, “[t]purpose for which the Corporation is organized is to

operate an integrated academic health system which will provide medical care,

hospital care, medical education, and medical research through hospitals,

clinical research organizations, affiliated physicians groups, outpatient clinics,

managed health care plans, and other appropriate facilities and related

entities, and through affiliations and other relationships with other health care

and related service providers.”     In addition, “[t]he Corporation shall also

provide support, financial and otherwise, to the medical and other educational

and research activities of Duke University, a North Carolina nonprofit

corporation, including without limitation the Duke University Medical School

and other entities affiliated with Duke University.” (Exhibit 1, p3, § IV)




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7.      Along with Defendant Duke, DUHS was a joint employer of Plaintiff at

all relevant times in this Complaint.

8.      Defendant Moira Rynn (Rynn) has served as the chair of the Department

of Psychiatry and Behavioral Sciences at Duke and DUHS since 2017 and

served as Plaintiff’s supervisor since that time.

9.      Defendant Mary E. Klotman has served as the Dean of the Duke

University Medical School since July 2017 and is thus responsible for the

supervision and management of Defendant Rynn and Plaintiff.

10.     This Court has jurisdiction over Plaintiff’s Title VII claim under 42

U.S.C. § 2000e5(f)(3) and 28 U.S.C. § 1331 and 42 U.S.C. § 1981a(a); Plaintiff’s

ADEA claim under 28 U.S. C. § 1331; and over Plaintiff’s § 1981 claim under

28 U.S.C. §§ 1331 and 1343.

11.     Venue is proper in this district in that the unlawful employment

practices were committed in this district, the relevant employment records are

maintained in this district, Defendants Duke and DUHS have their principal

offices in this district, Defendants Rynn and Klotman and Plaintiff work in this

district, and there is no other district that has substantial connection to the

claim.




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12.      All conditions precedent to the institution of this lawsuit have been

fulfilled, including the filing of a charge and the receipt of a right to sue letter

from the Equal Employment Opportunity Commission.

                            STATEMENT OF FACTS

13.      All allegations of each paragraph of this Complaint are incorporated into

each Count thereof, as though fully set out therein.

14.      Plaintiff was employed by Duke on Sept 1, 1989, as a Research Associate.

She began a Formal Residency training on July 1, 1997, with the Duke

Medicine & Psychiatry Combined Training Program. On July 1, 2002, she was

hired at a salary of $105,000.00.

15.      Over the years, Plaintiff was consistently promoted, her salary increased

every year (except 2012 due to university financial constraints), and she was

eventually awarded tenure as a Full Professor in 2014.

16.      From 2004 through 2017 Plaintiff took annual and sometimes bi-annual

trips to China to collaborate with colleagues, provide mental health outreach

and attend and present at conferences. She also visited with family on these

trips.

17.      As of 2017, Plaintiff was seeing patients in a clinical practice, but




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primarily was a researcher managing a laboratory at Duke and conducting

clinical studies funded by grants from the National Institutes of Health (NIH)

and the National Heart Lung and Blood Institute (NHLBI); these grants were

for multiple years and funded a large portion of Plaintiff’s salary. During her

years of employment with Defendants, Plaintiff developed a strong reputation

as a researcher, collaborator, and presenter unlike Defendant Rynn who

resented her for the same, and who is not a tenured professor.

18.     From September 2006 to November 2011, Plaintiff worked primarily on

the REMIT study (Responses of Myocardial Ischemia to Escitalopram

Treatment) (ClinicalTrials.gov Identifier NCT00574847), funded by the

NHLBI which was designed to study, as its name suggested, the effects of the

drug escitalopram on patients with myocardial ischemia (reduced blood flow to

the heart which can result from conditions including mental or physical stress).

19.     The earliest version of the study summarized the goal of the study as

follows:

        Brief Summary: Depression is commonly seen in patients with
        cardiovascular disorders, as in recent studies it has been shown
        that mild to moderate depression symptoms were associated with
        increased likelihood of mental stress-induced myocardial ischemia
        (MSIMI), which is a risk factor of poor cardiac outcome. In this
        project, we aim to assess the treatment of mental stress-induced



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        myocardial ischemia in ischemic heart disease patients with mild
        to moderate depressive symptoms. This study is a six-week double-
        blind placebo-controlled study to examine the effects of
        escitalopram on mental stress-induced myocardial ischemia.
        This study will look to show that patients with ischemic heart
        disease who are treated with escitalopram will exhibit a significant
        improvement of MSIMI at the end of week 6 compared to patients
        receiving placebo.

        Detailed Description: The goals of this project are to investigate
        the response of mental stress-induced myocardial ischemia
        (MSIMI) to escitalopram, an SSRI; to determine whether MSIMI
        will be reduced by the treatment, and whether the modification of
        MSIMI is related to improvement of depression symptoms, and/or
        to reduction of platelet aggregation, and/or to reduction of
        cardiovascular reactivity. This is a randomized study using
        escitalopram versus placebo for stable ischemic heart disease
        patients with MSIMI. This study will also explore the role of
        platelet activity in occurrence of MSIMI and other characteristics
        of MSIMI, such as systolic and diastolic function of the left
        ventricle during mental stress testing as comparing to exercise
        testing.

20.     The final version was exactly the same but added one paragraph to the

“detailed description”:

        The stress testing will be conducted at the Duke Cardiology
        Diagnostic Unit Laboratory. Following a 20-minute calibration-
        rest period, participants will be asked to complete a series of 3
        mental stress tasks. There are 3 mental stress tasks to be used
        for this study, i.e., (1) Mental arithmetic: during this test, patients
        will be asked to perform a series of serial subtractions beginning
        at a given number which will be different for each repeated test
        and will be chosen by the tester from a fixed list of various
        numbers, with encouragement to perform calculations as quickly


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        as possible; (2) Public speaking with anger recall: during this test,
        patients will be asked to give a speech on a recent situation in
        which they experienced anger to an audience of observers (two to
        three) after 1 minute of preparation. Prior to the speech, subjects
        are told that their speech will be evaluated on their description of
        the situation, as to what happened, what they thought, felt, what
        they did, and what happened as a result. If they run out of things
        to say, the research tech will prompt them with questions to elicit
        more content until the three minutes are up; (3) Mirror trace:
        during this test, patients will be asked to outline, as quickly as
        possible, a star from its reflection in a mirror. Each task will last
        3 minutes and there will be a 6-minute rest period between tasks.

21.     The last version reported the outcome measures. The primary outcome

measure listed (number 1) was entitled “Percentage of Participants With an

Absence of Mental Stress-induced Myocardial Ischemia (MSIMI) During

the 3 Mental Stressors.” Number 2 on the outcome measures, described as

“primary,” was entitled “Percentage of Participants With Overall Mental

Stress-induced Myocardial Ischemia (MSIMI).”

22.     Significantly, in version 9, the last version, outcome measures 3 – 14,

were all labelled secondary outcomes and only the very last one, number 14,

made any reference to “Exercise Stressed-induced Myocardial Ischemia

(ESIMI)). Evaluation of ESIMI was not the primary focus of the REMIT study.

23.     The REMIT study investigators published a paper in the American

Heart Journal in 2012 describing the research methods for the study being


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conducted:

        Substantially accumulated evidence demonstrates that transient
        emotional distress or mental stress is strongly linked to coronary
        heart disease (CHD).1 Over the last couple of decades, the
        association of mental activity and myocardial ischemia has been
        well studied. Mental stress–induced myocardial ischemia
        (MSIMI) in the laboratory may occur in up to 70% in patients with
        clinically stable CHD2 and is associated with increased death and
        cardiovascular (CV) events. Few studies have examined
        therapeutics that effectively modify MSIMI. We, therefore, are
        conducting a clinical trial, that is, the REMIT trial, to investigate
        whether selective serotonin reuptake inhibitor (SSRI) treatment
        can improve MSIMI. The methods and rationale of the study are
        described.

Clearly, and significantly, the focus of the study as described in this article was

on MSIMI, not ESIMI.

24.     The REMIT study investigators published a paper in 2013 in the Journal

of the American Medical Association (JAMA) in which they reported

statistically significant results regarding MSIMI (more patients taking

escitalopram had an absence of MSIMI during the 3 mental stressor tasks

compared with patients taking the placebo) based on the unadjusted multiple

imputation model for intention-to-treat analysis. The JAMA article also noted

that rates of ESIMI were slightly lower in the escitalopram group than in the

placebo group, but significantly acknowledged that the difference was not




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statistically significant.

25.     A total of six papers were eventually written about the REMIT study and

its conclusions. More papers could have been written but for Defendants’

actions in sabotaging Plaintiff’s research and publications career, as detailed

herein.

           BEGINNING OF THE AUDITS OF THE REMIT STUDY

26.     After the JAMA publication in 2013, years passed.

27.     On July 1, 2017, Defendant Rynn was hired to be the chair of the

Department of Psychiatry and Behavioral Sciences. At his time, Plaintiff was

earning over $200,000.

28.     Plaintiff’s salary had consistently increased since her initial employment

with Defendants Duke and DUHS. Specifically:

  DATE                                         SALARY
  July 01, 2003                                $125,000.04

  July 01, 2004                                $128,450.04

  July 01, 2005                                $132,000.00

  July 01, 2006                                $140,000.00

 July 01, 2007                                 $144,900.00

 July 01, 2008                                 $150,405.96




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 October 01, 2009                              165,456.00

 March 01, 2010                                $173,728.80

 July 01, 2011                                 $178,940.64

 July 01, 2012                                 $178,940.64

 July 01, 2013                                 $182,519.40

 July 01, 2014                                 $186,169.80

 July 01, 2015                                 $190,824.00

 July 01, 2016                                 $195,594.60

 July 01, 2017                                 $200,484.48




29.     Defendant Rynn was selected as Chair of the Defendants Duke and

DUHS Psychiatry and Behavioral Science department on July 1, 2017.

30.     On April 18, 2018, Defendant Rynn requested an audit of the REMIT

study for which Plaintiff was assigned as Principal Investigator.

31.     As of July 1, 2018, Plaintiff’s salary was reduced to $152,629.92.

32.     As of July 1, 2019, Plaintiff’s salary was reduced to $34,418.00, where it

has remained since that time, despite the fact that other non-Asian, male, and

younger physicians have been hired by Defendants since that time at much

higher salaries for comparable work.


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33.     In the most three most recent annual appointment letters provided to

Plaintiff by Defendant Rynn, Rynn had no discussion with Plaintiff as opposed

to other faculty members, whose names have not yet been discovered, but will

be identified as John Doe, Jack Smith, and James LNU, who were similarly

situated to Plaintiff but not older, Asian, and female.

34.     The letters to Plaintiff stated only that Plaintiff would be working in a

full professor position at an annual salary of $34,418.00. A newly hired faculty

with “instructor” position in 2020 earned an annual income of $220,000.00. The

difference in the salary paid to Plaintiff and the salary paid to John Doe, Jack

Smith, and James LNU is attributable to discrimination based on Plaintiff’s

race, age, sex, and national origin.

35.     Plaintiff has a distinguished career as a researcher with many published

articles and is a tenured professor and is older than Rynn. Exhibit 2. In

addition, English is her second language; she speaks with an Asian accent.

36.     Defendant Rynn is not a tenured professor, and her research career pales

in comparison to Plaintiff’s. Exhibit 3. Rynn is younger than Plaintiff and

English is her first language, and she does not speak with an Asian accent.

37.     Beginning in 2018, Defendant Rynn, with the oversight and approval of




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Defendants DU and DUHS, began a campaign to disparage the REMIT study,

and primarily Plaintiff’s involvement in it as Principal (but not sole)

Investigator. This disparagement was intended to cast doubt on Plaintiff’s

abilities to administer grants and serve as a principal investigator.

38.     However, the scrutiny instigated by Defendant Rynn extended beyond a

routine audit of a grant and evolved into Rynn’s questioning the data analysis

and conclusions reached in articles published not by just Plaintiff but co-

authored by her co-investigators.

39.     This scrutiny by Rynn and the other Defendants constituted

discriminatory practices based on Plaintiff’s race, sex, national origin, and age,

and due to Rynn’s professional jealously of Plaintiff as an accomplished

researcher and tenured professor, which Rynn was not.

40.     Plaintiff was out of the country in April 2018. While travelling in China

in April 2018 performing outreach activities to medical colleagues and visiting

family, Plaintiff saw that Scott Kollins was stepping down as Vice Chair for

Research and Plaintiff reached out to Defendant Rynn and expressed in

interest in the position. Rynn did not respond.

41.     During this same time Plaintiff was out of the country, Defendant Rynn




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instigated an internal review of the study files for the REMIT study. Rynn

assigned Sharikia Burt, the Assistant Research Practice Manager, to conduct

the review. Burt began the study by scheduling an interview with Pamela

Bonner, Plaintiff’s research coordinator for her lab since 2017.

42.     Unbeknownst to Plaintiff at the time, Rynn had called Bonner to her

office to discuss Plaintiff’s lab practices and thereafter used that meeting as a

justification for beginning the multiple reviews that ensued into the REMIT

study.

43.     When Plaintiff returned to the country and to her office on April 25, 2018,

she consulted with Dr. Jeannie Beckham about the reason for the

departmental audit of the REMIT study which was by this time ongoing.

44.     Beckham told Plaintiff that Pamela Bonner had made a complaint to

Defendant Rynn alleging that Plaintiff did not know how to manage a

laboratory. Plaintiff was shocked and wanted to reach out to Bonner, but

Beckham instructed her not to discuss the matter with Bonner in order to not

be viewed as retaliating against Bonner.

45.     On April 30, 2018, Defendant Rynn requested a meeting with Plaintiff

and indicated that she wanted to follow up the departmental audit with an




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audit by the university audit office. Rynn told Plaintiff that the audit would be

a good way for Plaintiff to improve her research.

46.     Plaintiff did not suspect any ill motives by Rynn at this time and

although she did not understand why Rynn would want to revisit a study that

had concluded in 2015, she did not oppose Rynn’s desire to have the study

audited past the departmental level. Rynn treated Plaintiff differently based

on her race, sex, national origin, and age, and she instigated no other such

audits of researchers similarly situated to Plaintiff.

47.     Significantly, Plaintiff was provided no opportunity by Defendant Rynn

to respond to the first Clinical Research Unit (CRU) report authored by Burt.

48.     After her meeting with Plaintiff, Rynn then emailed Leigh Goller and

David Falcone of the university Office of Audit, Risk, and Compliance (OARC)

and indicated that Plaintiff and Rynn were requesting that the university

audit the REMIT study.

49.     After this email from Rynn, Falcone sent an email on May 1, 2018,

asking Plaintiff or Rynn to call him, but later that day Rynn emailed Plaintiff

and told her that there was no need for her to reach out and that Falcone had

told her that his team would meet with her in 2-3 weeks.




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50.     Plaintiff would later observe, as the audits of the REMIT study

continued, that Rynn would often essentially attempt to “run interference” and

prevent Plaintiff from contacting individuals who were involved in Rynn’s

efforts to discredit the REMIT study.

51.     James Blumenthal, J.P. Gibbons Distinguished Professor of Psychiatry,

confirmed that Rynn’s practice of preventing Plaintiff from discussing the

audit matters was unusual.

52.     Also on May 1, 2018, as previously scheduled prior to Plaintiff’s trip to

China, Pamela Bonner left Plaintiff’s lab.

53.     On May 3, 2018, the departmental audit instigated by Defendant Rynn

while Plaintiff was in China was completed and the report issued by Sharikia

Burt stated that a departmental recommendation was being made to “escalate”

the study “[d]ue to various issues observed during the QA review that may

affect data integrity, subject safety and the concern for proper PI oversight.”

54.     Curiously, this report dated May 3, 2018, postdated Rynn’s discussion

with Plaintiff about elevating the audit of the REMIT study to the university

audit office to which she attempted to get Plaintiff’s consent. Thus, it appears

that Rynn was managing the departmental audit report from behind the




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scenes and was successful in having included in the departmental study a

recommendation to “escalate” the audit of the study to the university level.

55.     The OARC Research Compliance Assurance (RCA) visited the research

offices where the REMIT study records were kept between June 4-13 and July

3-7, 2018. They reviewed only 17 out of 310 subject study records initially and

then 8 more after initial review.

56.     After the REMIT study, Plaintiff submitted another grant request to the

NHLBI. NHLBI indicated in early July 2018, that it needed Plaintiff’s

response to the “just in time” (JIT) 1 document issued by agency. The

departmental Clinical Research Unit (CRU) was responsible for providing the

JIT response. The JIT eventually was prepared, but its delay caused

significant tension.

57.     Plaintiff reached out to Defendant Rynn and learned for the first time

that Rynn had chosen not to fill the CRU director position or the Vice Chair for

Research position about which Plaintiff had inquired in April which was

vacated by Scott Kollins. Instead, Rynn had decided that she would serve as

the interim CRU director. Thus, the delay in getting the JIT document was the


1
 JIT documents are used by federal agencies to request pre-award materials that were not submitted as part of the
original grant application.


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result of the fact that Scott Kollins had not been replaced as CRU head, which

Plaintiff explained to the program officer at the NHLBI and copied Rynn in an

email on August 21, 2018.

58.     Rynn then scheduled a meeting with Plaintiff and Plaintiff learned that

Rynn was going to supervise the CRU, and not replace Scott Kollins, and that

she was offended by what she considered Plaintiff’s criticism of the CRU’s

failure to submit the JIT response to the NHLBI program officer.

59.     On September 10, 2018, the Office of Audit, Research, and Compliance

(OARC) Research Compliance Assurance (RCA) issued a report based on its

review of 25 of the 310 subjects of the REMIT study and noted no significant

patient safety concerns. Protocol and documentation concerns were noted, and

the RCA recommended that Plaintiff and the study team submit the OARC

report and Plaintiff’s response to the university Institutional Review Board

(IRB). The OARC also indicated that it had discussed the recommendations

regarding protocols and “good clinical practices” (GCP) with both the IRB and

the Duke Office of Clinical Research (DOCR) and the OARC was leaving

implementation of its recommendations “to the discretion of the IRB and

Psychiatry leadership.”




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60.     The RCA recommended that the “IRB consult with a statistician to

evaluate if and how data quality issues impact existing and future

publications.”

61.     The OARC issued a report noting no patient safety concerns, but issues

with protocol adherence. However, the protocol adherence issues turned out to

be related to the exercise stress testing inclusion/exclusion criteria, which was

not the primary focus of the study; the primary focus of the study was mental

stress IMI, not physical stress IMI.

62.     In addition, the OARC RCA made recommendations for changes in the

REMIT study, apparently unaware that the REMIT study had concluded more

than three years prior to the OARC RCA’s review and many of the

recommendations       could   not   be   implemented   retroactively   but   only

prospectively in future studies.

63.     On September 20, 2018, Bonner wrote Plaintiff asking her to be a

reference for Bonner. Confused about why Bonner would want a reference from

her if she believed that Plaintiff was a sub-par investigator, Plaintiff reached

out to Bonner to schedule a meeting which occurred on September 24, 2018.

64.     At this meeting, Bonner informed Plaintiff that she was called in to




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Defendant Rynn’s office (the Department Chair) and Defendant Rynn “grilled”

her for about an hour about the work done in Plaintiff’s lab. Bonner told

Plaintiff that she never stated that she had problems with Plaintiff’s lab.

65.     On September 25, the next day, Bonner wrote Plaintiff an email stating:

        I’m sorry that you were told all these things and asked not to
        discuss them with me. I don’t remember saying that I would not
        want to work with you again at that meeting, and I don’t feel that
        way. Hopefully, we can keep our communication better in the
        future. I know that I told them that I thought you were genuinely
        trying to follow the rules that you knew about and that it seemed
        like the issues that I had noticed were from no one telling the study
        team about evolving best practices. When asked about data
        integrity, I told them that I felt that your data could be trusted,
        that you have a great deal of personal integrity, and that any
        issues were only ones of documentation practices. I recommended
        more training for all the CRCs in the department and more
        guidance/support for the principal investigators. I did recommend
        that they give you an experienced CRC to work with in the future
        if you were funded for your study. I hope that you still feel good
        about me after all this hearsay, and I do hope for the best for your
        new projects moving forward.

66.     Defendant Rynn’s pretextual reliance on Bonner’s complaints as a basis

for the reason for auditing the REMIT study thus became obvious to Plaintiff

and Plaintiff became concerned that Rynn was targeting her by continuing to

mislead her about escalations of what were minor audit issues.

67.     On the same day that Plaintiff met with Bonner, she learned that her




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grant for NHLBI project R01, R01HL140060 designed to examine “Mental

Stress-Induced Left Ventricular Dysfunction and Mitochondrial Dysfunction

in Women” was awarded for a period for 4 years. On Plaintiff’s original

proposal. The initial year alone was funded at almost $800,000.00.

68.     Between October 4 and November 1, 2018, Plaintiff travelled to China

on an outreach trip and to visit her family.

69.     The OARC RCA report was submitted to the IRB on November 26, 2018,

and evaluated by the IRB on December 19, 2018. The IRB concluded that there

the report did not show any Involving Risk to Subjects or Others (UPIRTSO).

The IRB concurred with OARC recommendations, presumably made with

regard to prospective studies given that the REMIT study had long concluded.

As to the REMIT study, the IRB stated it wanted to see independent expert

opinion on the “interpretation of the stress tests, ECHOs and how the ineligible

patients were handled in the reporting of the data.” The IRB stated that the

“PI and Investigators, with the support of the CRU and School of

Medicine, should seek independent expert opinion on these issues and

report back to the Board with their conclusions.”

70.     Despite this IRB request, not only did Defendant Rynn not support the




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acquisition of an independent expert to resolve any outstanding issues about

the REMIT study.

71.     Instead, Defendant Rynn instigated a second departmental Clinical

Research Unit review of the REMIT study, decidedly not independent, and

focused on the inclusion/exclusion criteria applied to 127 of the original 307

patients who completed the REMIT baseline screening and were found to have

met the “eligibility criteria” for the study.

72.     Again, Defendant Rynn’s scrutiny of Plaintiff’s involvement in the

REMIT study in which many other researchers were involved centered on

Plaintiff.

73.     The CRU review was conducted by Terry Ainsworth, Director of

Research in the DOCR; Alifia Hasan, the departmental research practice

manager for the Psychiatry department; and Scott Compton, who had been

selected by Defendant Rynn finally to become the Director of the Psychiatry

CRU.

74.     The CRU focused primarily on changes to the exclusion criteria in the

original protocol which were made to ensure patient safety.




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 Table 2. A Summary of the Number of Participants that
 Failed by Eligibility Criteria
 Eligibility Number of          Participant IDs
 Criteria       Participants
 EC 1           N=1             090-024
 Recent
 myocardial
 infarction,
 coronary
 artery bypass
 graft surgery,
 or other
 revascularizat
 ion procedures
 (>3 months)
 EC 4           N = 10          161-049; 175-054; 206-066; 233-
 Unable to                      077;
 withdraw                       235-080; 238-082; 264-089; 299-
 from anti-                     098;
 anginal                        310-105; 358-115
 medications
 during
 ischemic
 assessment
 phase
 EC 5           N=6             020-004; 046-016; 102-029; 180-
 Unable to                      051;
 perform                        236-081; 377-121
 exercise
 testing
 EC 6           N=3             109-033; 319-103; 379-122
 Pregnancy
 EC 10          N=1             025-012
 Significant
 cardiac,
 pulmonary,



                                 -23-




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 Table 2. A Summary of the Number of Participants that
 Failed by Eligibility Criteria
 Eligibility Number of          Participant IDs
 Criteria        Participants
 metabolic,
 renal, hepatic
 disease, or
 malignancy,
 interfering
 with patient's
 participation
 in this study
 EC 12           N=1            144-042
 currently
 taking anti-
 depressants
 that can not be
 discontinued
 IC 3.1 and      N=1            015-003
 EC 4
 (IC dropped
 as of 10/2008)
 and
 Unable to
 withdraw from
 anti-anginal
 medications
 during
 ischemic
 assessment
 phase
 EC 4 and EC N = 2              268-093; 284-095
 5
 Unable to
 withdraw
 from anti-
 anginal
 medications
 during
 ischemic
 assessment
 phase and
 Unable to


                                 -24-




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       Table 2. A Summary of the Number of Participants that
       Failed by Eligibility Criteria
       Eligibility Number of          Participant IDs
       Criteria        Participants
       perform
       exercise
       testing
       EC 6 and EC N = 1              265-090
       12
       Pregnancy &
       currently
       taking anti-
       depressants
       that can not be
       discontinued


75.     EC 4 (unable to withdraw from anti-anginal medications) and EC 12

(currently taking anti-depressants that cannot be discontinued) were waived

for 15 study participants to allow the study participants to safety continue

participation in the study. Because the study evaluated patients at baseline

on medication and then at the conclusion of the study on the same medication,

waiving these exclusions had no effect on the study’s conclusions about mental

stress IMI.

76.     EC 5 (unable to perform exercise testing) was also waived for six

participants to allow the study participants to safety continue participation in

the study. In addition, because exercise stress IMI was not a primary focus of

the study, waiving this exclusion criterion has no effect on the conclusions


                                       -25-




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about MSIMI.

77.     One patient was allowed to participate despite his undergoing a cardio-

diagnostic cardiac catheterization on June 30, 2008, because he had chest pain

symptoms. The patient was found to have no acute myocardial infarction. He

had no re-vascularization and was found to have normal LV function.

Ultimately, his cardiologist informed the REMIT study investigators, which

included cardiologists, that the patient’s IHD was stable, and he agreed to have

the patient enrolled in the REMIT study. Thus, there was no patient safety

concern.

78.     One participant in the study was not excluded because 6 days after

baseline testing he was ultimately diagnosed with a “significant cardiac,

pulmonary, metabolic, renal, hepatic disease, or malignancy, interfering with

patient's participation in this study” (EC 10), that diagnosis did not occur until

after baseline testing and randomization to the REMIT intervention and there

was no evidence that he had cancer prior to a dizziness episode which occurred

after randomization.

79.     Again, most of the questions about the inclusion and exclusion criteria

related to the cardiovascular health of the patients. Instead of consulting with




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the cardiologists’ investigators on this study, Defendant Rynn attempted to

hold Plaintiff responsible and treated her differently because Rynn treated

Plaintiff differently because of her race, sex, national origin, and age.

80.     On December 18, 2018, Geeta Swamy sent Plaintiff and email stating:

        The SOM is wanting to get a full understanding of your most
        recent trip to China- what was the nature of the trip- was there
        any funding provided to Jan – including the cost of her travels
        etc. The SoM has recently received a letter from NIH regarding a
        PI in another Department who failed to note that he had
        collaborated internationally with China etc. Geeta and team
        remembered that you had recently traveled and wanted to find
        out the details of the trip to be sure we don’t need to disclose
        anything on her behalf.

81.     On January 7, 2019, Plaintiff met with Defendant Rynn and suggested

that because the new grant also involved cardiologists that the grant might be

better supervised out of the cardiology department. Rynn apparently

perceiving this as a threat, then threatened to terminate the grant under her

authority as Department chair.

82.     At this same time, Plaintiff sought again to obtain CRU and

departmental support for complying with the IRB request that the Plaintiff

and her Investigators, with the support of the CRU and School of Medicine,

seek “an independent expert opinion on these issues and report back to the




                                       -27-




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Board with their conclusions.” Rynn instructed Plaintiff that she was not

permitted to discuss the ongoing audits with her co-investigators.

83.     Rynn held Plaintiff responsible for the entire conduct of the study and

all decisions made with regard to the study, as opposed to addressing issues to

all of the investigators or allowing Plaintiff to do so.

84.     Scott Compton told Plaintiff he would reach out to the IRB about

whether a random sample of the ECHOs and exercise stress tests could be

evaluated and relayed on January 9, 2020, and that Jody Power with the IRB

had said that a random sample would be fine, but that a “deeper dive” might

be required at some point.

85.     Plaintiff then told Compton that she was going to confer with her co-

investigators as directed by the IRB. Compton then sent Plaintiff an email

copying Defendant Rynn stating that “Moira expressly asked that we not

discuss the audit with anyone outside of Duke. . . . Based upon this request, I

think it would not be prudent to inform the cardiologists at this point in time.”

Defendant Rynn responded to the email stating: “That is correct, Scott, no one

has my permission to share any information pertaining to this audit outside of

our group. Thanks, Moira.”




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86.     Plaintiff then wrote an email to both Compton and Defendant Rynn

stating:

        having a hard time comprehending why I cannot communicate
        with the co-investigators of REMIT about the audit. They have
        been working with us for many years and have made unique
        contributions to REMIT study. From the Echo standpoint, as the
        PI of REMIT, except for outlining guidelines, I have no role in the
        REMIT echo quality and interpretation process. I feel that it would
        be respectful to my echo-cardiology collaborative colleagues, who
        reviewed all the REMIT echo images, that their echo ratings will
        be re-examined. Dr. Eric Velazquez and Dr. Zainab Samad are
        very well known echo-cardiologists who have had top level echo
        training. They also have enriched experience in analyzing mental
        stress induced cardiac echo images. I think they may have adjunct
        positions with Duke after they moved to Chairs of Medicine in
        different institutions. I sincerely think they need to be informed of
        the decision to re-read the echo images.

        Moving forward, I would like to make a suggestion. Given the
        nature of cardiac echo imaging study and the unique hemodynamic
        impact of mental stress on cardiovascular system, it would be a
        good idea to have echo-cardiologists who have had comparable
        training and experience with mental stress testing to do the
        required re-rating.

Plaintiff received no response to this email.

87.     Meanwhile, the second CRU report instigated by Defendant Rynn was

sent to the IRB on January 18, 2019. This time, Plaintiff was given an

opportunity to provide her response to the report and she did.

88.     On February 25, 2019, Jiang received email messages from her


                                        -29-




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department CRU and the Duke Office of Scientific Integrity - COI Faculty

Correspondence, asking her:

        Lindsey Spangler, from Research Facilitation, has reached out to
        me to make sure that you contact COI regarding your travels to
        China. She wanted to make sure that you have reported these
        activities correctly. Can you please promptly reach out to them
        and let us know when this has been completed. The Duke COI
        office can be reached at (919) 684-312.

89.     In a shocking escalation of the hostile work environment to which

Plaintiff had been subjected, on January 23, 2019, at a meeting with Plaintiff

and Geeta Swamy, Defendant Rynn informed Plaintiff that in her capacity as

Department Chair, Rynn had decided to terminate Plaintiff’s grant which had

been awarded in the Fall of 2018.

90.     Dr. Blumenthal was shocked when he learned that Rynn had cancelled

Plaintiff’s grant. In the 50 years he has been working, he had never seen such

obviously unfair and hostile treatment, especially given the reasons for the

cancellation of this grant. He had never heard of this happening to any other

colleagues, including non-Asian male younger or any colleagues.

91.      This grant had a first-year value of almost $800,000 and would have

provided valuable research as well as financial support for Plaintiff’s career.

92.     This termination occurred in complete non-compliance with the IRB



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procedures for terminating previously approved research protocols. This

termination was an adverse action clearly based on Plaintiff’s race, sex, age,

and national origin, was unprecedented, and another example of how Plaintiff

was treated differently from other researchers who were similarly situated to

her except as to race, sex, age, and national origin. The reasons given for the

cancellation were completely out of proportion to the actual action taken.

93.     No other IRB approved protocols have been terminated in the same

manner as Plaintiff’s, including white male researchers John Doe, Jack Smith,

and James LNU. Plaintiff was singled out by Defendant Rynn and treated

differently based on Plaintiff’s race, sex, national origin, and age.

94.     Despite Plaintiff’s protests, Swamy told Plaintiff that she would compose

a letter to NHLBI for the termination and would share the letter with Plaintiff

prior to submitting it to the NIH system, which Swamy did not do.

95.     Defendant Rynn’s termination of Plaintiff’s new R01 negatively

impacted the professional career of Plaintiff and several of her colleagues. It

negatively impacted Plaintiff’s professional reputation, and significantly

Plaintiff’s financial support, given that 30-50% of Plaintiff’s university salary

would have been covered for at least five years by this grant.




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96.     Despite being told that Defendant Rynn had terminated her grant,

Plaintiff continued to receive messages from the NHLBI concerning her need

to complete activities consistent with the grant being active. To address these

emails, on April 19, 2019, Plaintiff wrote to Dr. Swamy, who had indicated

previously on January 23, 2019, that she would provide Plaintiff Jiang with

correspondence to NIH regarding the termination of the grant.

        Dear Dr. Swamy,

        May you please verify the relinquishment of my new R01(R01
        HL140060) for us? I have not seen the letter or report to NIH that
        you said you would share with me during our meeting on 01/23/19.
        Dr. Compton, the Psychiatry department CRU director, has
        verbally informed me that the termination of the R01 has been
        formal. However, I continue receiving notifications from NHLBI
        regarding activities that I, the PI of the project, need to address,
        and reminder that I am late in responding to those requirements.
        I did not respond because I have been following the guidance of our
        CRU that we not communicate with NHLBI regarding this matter.
        I view having a formal notification of the R01 relinquishment is
        necessary for our record keeping.
        Best, Jan

97.     Significantly, Dr. Swamy replied on April 25, 2019:

        Jan,

        Thank you for your email and my apologies in not responding to
        you sooner. Please see the attached documentation that Duke has
        relinquished the grant. As we discussed previously and is stated in
        the Duke Faculty Handbook (appendix P, page 41), faculty are not


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        permitted to communicate with external sponsors on
        administrative issues. We also discussed that you would like to
        speak with your program officer, Catherine Stoney, about your
        continued interest in the research from a scientific perspective.
        You may do that but only with someone from your
        department/CRU leadership or School of Medicine Leadership
        included on the phone call with you. I have copied Scott and Moira
        on this email so that you may work with them to determine next
        steps and who to include on such a call if you would like to proceed
        with that plan.

        Thanks, Geeta

98.     This email provided Plaintiff with no documentation regarding

Defendant Rynn’s cancellation of her grant, and also with further evidence of

Defendant Rynn’s attempts, through Dr. Swamy, to continue Defendant

Rynn’s efforts to insulate Plaintiff Jiang from having any contact with anyone

who could question or oppose Defendant Rynn’s discriminatory and retaliatory

treatment of Plaintiff Jiang.

99.     Eventually Plaintiff learned that Michael Dickman had sent an email to

Christina Rinaldi at the NIH/NHLBI on March 6, 2019, stating that the

University wanted to “initiate the process” for relinquishing the first-year

budget award of $799,690.00 to the U.S. Department of Health and Human

Services, Public Health Service 1R01-HL140060-01A1.

100. Also, not content to sabotage her research career in the United States,


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Defendant Rynn then informed Plaintiff that she would not be allowed to take

her April trip to China due to the need for her to stay at Duke in case she

needed to address issues emerging from the audits. In addition, Rynn also

denied Jiang’s request that her salary be supplemented by a group with which

she had been collaborating in China without giving her a reason.

101. On January 30, 2019, the IRB had issued a “Notice of Review of Safety

Event” and stated that upon review of the CRU report and presumably

Plaintiff’s response, the IRB “declared that the problem/event does not

represent an Unanticipated Problem Involving Risk to Subject or Others

(UPIRTSO). No further action is required.”

102. On February 22, 2019, Plaintiff wrote an email to Defendant Rynn

imploring her to reconsider forbidding Plaintiff to travel to China in which she

stated:


          I established my academic commitment to China in 2003. I have
          set up two primary goals to achieve in China this year, one is to
          enhance the understanding and resolving the fear and fear
          related symptoms emerging from significant physical events,
          and the other is to make the team approach in health provision
          more comprehensive and accepted in medical practice in China.
          You may find the topic of my formal talk in the April
          international CV conference (Formal invitation attached) of
          interest. I have also attached for you a brief description of why


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       implementing mental health and integrated care is particularly
       important.
       To accommodate your requirements, I am willing to reduce my
       trip to no more than 10 work-days and have also taken an extra
       week of inpatient service in April 2019. I highly appreciate your
       re-consideration and approval of my trip to China, so I can have
       an uninterrupted academic practice there.

103. Defendant Rynn then scheduled a meeting with Plaintiff to discuss a

“clinical matter” and also “to review your academic and clinical financial

support.”

104. Plaintiff was concerned and asked the Faculty Ombudsman to attend the

meeting, Dr. Tom Metzloff. At first Rynn refused to let him attend. Eventually,

after discussion of the clinical matter, she then permitted him to come into the

meeting.

105. The remainder of the meeting, about 40 minutes, involved Defendant

Rynn reiterating that for Plaintiff’s sake, she could not allow Plaintiff to leave

Duke Campus because Plaintiff might need to respond to questions about the

REMIT study. During the meeting, Defendant Rynn became more and more

restless and irritable when both Dr. Metzloff and Plaintiff offered that the

department CRU director Scott Compton had indicated that Plaintiff could

respond via electronic communication. At one point, Defendant Rynn accused


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Plaintiff of being too calm, and stated that if she were Plaintiff, she would be

anxiously staying at Duke, not going anywhere else.

106. After the meeting, Dr. Metzloff offered to Plaintiff that it might ease the

obviously hostile behavior of Defendant Rynn towards Plaintiff if Plaintiff were

to agree not to go to China. Plaintiff reluctantly agreed.

107. In fact, during the time period Plaintiff would have been in China, there

were no face-to-face interactions required about any matter related to the

REMIT study.

108. Dr. Blumenthal and other physicians in the psychiatry department had

never heard of a physician/researcher being denied time to undertake

professional outreach in other countries and could not understand the source

of the hostility of Dr. Rynn towards Plaintiff.

109. Undaunted by the IRB’s lack of concern with the exclusion criteria

applied in the REMIT study and determined to destroy Plaintiff’s research and

career, and unsatisfied with having cancelled her outreach trip to China,

Defendant Rynn. upon information and belief, either made or caused to be,

made an accusation of research misconduct involved the REMIT study to the

U.S. Department of Health and Human Services (US DHHS) Office of Research




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Integrity (ORI).

110.   As a result of the accusation, on March 4, 2019, the US DHHS ORI

Research Integrity Officer (RIOO) then requested that Defendants “conduct an

inquiry into allegations of possible falsification of the REMIT clinical research

records. The purpose of the inquiry would be to determine if there were

evidence   of   potential   research   misconduct   that   would   warrant    an

investigation. The inquiry will be conducted by members of our Standing

Committee on Misconduct in Research (SCMR).” Plaintiff learned of this next

step from Donna Kessler on March 11, 2019, when she was informed that the

US DHHS requested inquiry into “research misconduct” would be referred to

the university’s Standing Committee on Misconduct in Research (SCMR).

111. Plaintiff’s FOIA request to the NIH for information related to this

inquiry has been outstanding despite repeated requests for over two years.

112. Unbeknownst to Plaintiff at the time, and despite her inquiries about

her grant, on March 6, 2019, an email was sent from Michael Dickman with

the Duke Office of Research Administration to Christina Rinaldi, National

Institute of Health (NIH) representing that Duke University wished to

relinquish the funds associated with the new five-year grant awarded to




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Plaintiff Jiang. On that same date, the remaining funds for the first year of the

public health service research grant terminated by Defendant Rynn

($799,690.00) were returned to US DHHS, Public Health Service.

113. Rynn continued to prohibit Plaintiff from moving forward with her co-

investigators to obtain the “independent” and “expert” opinion requested by

the IRB in December 2018.

114. On March 25, 2019, Duke University announced a substantial payment

to the United States to settle a case involving research misconduct involving

falsification and fabrication of data in research funded by the NIH and EPA. 2

115. The SCMR interviewed Dr. Stephen Boyle, Plaintiff Jiang’s co-author on

the REMIT study publications, on May 21, 2019. Plaintiff Jiang was

interviewed by the Committee on June 17, 2019. On July 15, 2019, the SCMR

interviewed Jennifer Wilson, who had served as one of the REMIT Study

coordinators, of which there were several, including Pamela Bonner.

116. On March 25, 2019, the SCMR initiated a re-evaluation (re-reads) of

echocardiograms from the REMIT study by Dr. Pam Douglas with the Duke

Clinical Research Institute.



2
    https://today.duke.edu/2019/03/message-duke-community-about-research-misconduct-case


                                                      -38-




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117. Dr. Douglas was not as experienced as the cardiologists on the REMIT

study who originally read the echocardiograms involved. Nor was she an

“expert” and independent opinions that the IRB had recommended by

obtained.

118. Studies funded by the NIH have found that “[t]he diagnostic accuracy of

novice [transthoracic echocardiogram] TTE interpretation is known to be low .

. . .” 3

119. In addition, on April 11, 2019, the SCMR initiated a statistical re-

analysis of the primary REMIT study outcomes provided in the 2013 JAMA

publication of the study results.

120. Previously, Defendant Rynn had commissioned Susanna Stevens and

Lilin She to evaluate the REMIT date conclusions in the JAMA article

published by Plaintiff and her co-investigators. In an email on March 8, 2019,

she stated the following:

           As the first step, Susanna and I have tried to replicate a few key
           numbers for the primary results published in JAMA using the
           same patient population and the same datasets and programs sent
           to DCRI. We can replicate some of the numbers but cannot
           replicate some others. Overall, our numbers are very close to what
           were published. If we have more time, we would like to investigate

3
 Journal of Echocardiography, J Echocardiogr. 2021; 19(4): 222–231. (Published online 2021 May 29. doi:
10.1007/s12574-021-00531-y https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8556165/ )


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      further on why we could not match 100% with the JAMA paper.

      As the second step, we also re-ran the SAS programs after
      excluding those 26 subjects who are considered as not eligible
      according to the recent assessment. The results are slightly
      changed. You can review the differences in the attached tables.
      Since we now have a smaller sample size, the p‐values are
      changed. However, the results obtained from this reduced patient
      sample are in general very similar to the results published in
      JAMA.

121. This email was not shared with Plaintiff at the time, and she only

learned of it later and not from Defendant Rynn.

122. After Plaintiff learned that the SCMR had initiated in April 2019 a re-

evaluation of the echocardiograms conducted during the study between 2006

and 2015 by Pam Douglas and the apparent presumption that there were

“ineligible subjects,” she scheduled a meeting with Paul Lantos, Jody Power,

and Walter Lee, members of the Duke IRB, to discuss Plaintiff Jiang’s concerns

regarding the SCMR’s draft conclusions.

123. Plaintiff expressed her concern about the potential determination that

there were “ineligible subjects” and fact that re-calculations were being done

of the statistical analysis using numbers different from those used by the

investigators who conducted the study.

124. In addition, Plaintiff also expressed her concern about the analysis of the


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echocardiograms re-read by Pam Douglas, M.D. because she did not have the

same training as the cardiologists who served as co-investigators with

Plaintiff.

125. At the meeting, Jody Power, Duke IRB Chair, denied making any

comment about needing to “dive deeper” (in REMIT) to Scott Compton or

anyone.

126. Plaintiff Jiang sent a follow up email after the September 12, 2019,

meeting on September 30, thanking them for meeting and inquiring about the

IRB review and consideration of the SCMR inquiry. Dr. Lantos responded on

October 6 and confirmed understanding of Plaintiff Jiang’s concerns about the

application of principles recently developed to work done during the REMIT

study. Significantly, he assured Plaintiff Jiang that they would not “reevaluate

2006 science using 2019 eyes.”

      Hi Jan,

        Thanks again for coming over to meet us. We certainly heard
        and acknowledge your concern about whether a reevaluation of
        the echo data from the REMIT study might cast doubt on your
        findings primarily due to advances in echocardiography in the
        years since REMIT was done.
        We hopefully provided some reassurance that this would be an
        unlikely outcome, as our goal is not to reevaluate 2006 science


                                      -41-




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          using 2019 eyes. There is really a spectrum of outcomes, with
          the extremes being that an audit fully confirms the original
          findings or it’s completely incompatible with them. In between
          these two there could certainly be a gray area in which the
          original findings would be seen as reasonable. If it happens that
          the audit finds major fault with the original findings, I can’t
          imagine that this would lead to a summary judgment or action
          without first diving deeper into these findings, and certainly
          making sure you and your collaborators aware.
          I believe that was the understanding we reached during the
          meeting. Please let me know if there is anything you believe I missed.


127. Plaintiff     Jiang   wrote   back     and   thanked   him   and   expressed

encouragement. She also expressed that the audit had been ongoing for over a

year and that she had been forbidden to publish manuscripts or doing research

and she had been prevented from sharing her thoughts and concerns about the

audit.

         Dear Paul,

         Thank you very much for your message summarizing the key
         element we discussed during our meeting. I am particularly
         impressed by your comment that “our goal is not to reevaluate
         2006 science using 2019 eyes”. My perception for the “Our” is that
         it means Duke IRB. Please clarify if my perception is wrong.
         I am much encouraged and confident now regarding the continued
         REMIT audit that has been happening for more than a year and
         remains being open ended. With it, I have been forbidden to
         publish several manuscripts produced from the REMIT biomarker
         study and been forbidden from doing research as PI. I have not



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       given any permission to share my thoughts/concerns for certain
       issues in the REMIT audit.

       I would like to ask you all to provide me update, if possible, on
       what further evaluation you are doing before I receive the final
       conclusion of the REMIT audit.

       Sincerely,

       Best, Jan

128. On October 22, 2019, the SCMR issued a report concluding that no

research misconduct had occurred. Despite finding no research misconduct

occurred, the SCMR exceeded its charge to investigate this allegation:

“Possible falsification of the clinical research record for the Responses of

Myocardial Ischemia to Escitalopram Treatment (REMIT) clinical research

study.”

129.   Instead the SCRM report contained opinions regarding “protocol

deviations.” In fact, the REMIT study had IRB approved protocols for every

year in which patients were enrolled. Nonetheless, the SCMR determined that

protocol deviations had occurred and made several recommendations again,

wholly outside the scope of their authority.

130. While the SCMR was investigating research misconduct, on July 12,

2019, Plaintiff learned about a School of Medicine/Duke Health position for


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Assistant Director positions to work with the new Center for Interprofessional

Education and Care which was created to expand opportunities for learners

and clinicians throughout the health system to enhance their skills in

interprofessional practice, working with the Center Director Mitch Heflin (Dr.

Heflin), and focusing on the areas of preclinical and clinical education, faculty

development, evaluation and scholarship. The announcement also indicated

that applications required a cover letter summarizing interest, a copy of the

applicant’s curriculum vitae, and most significantly for Plaintiff, a letter of

support from the applicant’s department chair, division, or program head,

attesting to the applicant’s qualifications and their support for the applicant’s

time, which was estimated to be one day a week.

131. Plaintiff Jiang reached out on July 15, 2019, to Jeannie Beckham and

Defendant Rynn regarding Plaintiff Jiang’s interest in the position and asking

for their support for her application.

132. Plaintiff Jiang also reached out on July 16, 2019, by email to Dr. Heflin,

the Center Director and contact for the position, and expressed her interest

and asked whether there were funds available to cover the time spent in the

position because her chief wanted to know. Dr. Heflin replied that there were




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funds available.

133. Defendant Rynn did not respond to Plaintiff Jiang’s email until July 23,

at which point she indicated that she wanted to set up a meeting to discuss the

matter of Plaintiff Jiang’s application. Plaintiff Jiang met with Defendant

Rynn and Jean Beckham, and they declined to support her application for the

position.

134. On July 31, 2019, Plaintiff Jiang wrote an email to Defendant Rynn to

summarize the discussions at the meeting which included both Plaintiff Jiang’s

proposed Fall trip to China and the School of Medicine position:

Dear Moira,

Thank you for taking time to meet me.

      I would like to summarize what I have learned from you at the
      meeting.

      1.   Re: My application request to response to the call of the Duke
      IPEC

      I heard from you that you have reached out to the Duke IPEC and
      learned that the program is looking for individuals who have had
      a high volume of outpatient services. Such individual will be in
      leadership of leading IP outpatient service. You have discussed
      with Dr. Shirey (may be others that I could not recall names) and
      made your nominations to IPEC. You will not make any new
      nominations for the AD position of the Duke IPEC. It is your
      opinion that I am not at the level of the IPEC is looking for.


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      2.    My visit to my mother in China in the fall

      You gave me your support for it, provided that I work out with Dr.
      Holmer for not having conflict on inpatient service.

      Best, Jan

135. Rynn then responded to Plaintiff Jiang’s email:

       Yes, reached out to SOM and Drs. Holmer and Heilbron for
      appropriate nominations who stressed the importance of
      leadership experience of a multi-discipline professional team and
      strong communication skills.

      And if we could please have your vacation dates that you plan to
      take. Thanks, Moira

136. Because Defendant Rynn refused to support Plaintiff Jiang’s application

for the position, Plaintiff Jiang then reached out to Dr. Heflin to communicate

Defendant Rynn’s decision not to support Plaintiff Jiang’s application.

      Defendant Rynn informed me that she has reached out to SOM
      and Drs. Holmer (Psychiatry inpatient service director) and
      Heilbron (Psychiatry department vice Chair for clinics) for
      appropriate nominations who stressed the importance of
      leadership experience of a multi-discipline professional team and
      strong communication skills. Dr. Rynn learned that your IPEC
      program is looking for individuals who have had a high volume of
      outpatient services. Such individual will be in leadership of
      leading IP outpatient service. Dr. Rynn has made her nominations
      to IPEC and will not make any new nominations for the AD
      position of the Duke IPEC. Dr. Rynn thinks I am not at the level
      of the IPEC is looking for.


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      Best, Jan

137. Dr. Heflin replied that Dr. Rynn was mistaken that there was a

preference for individuals with a high volume of outpatient services and that

he would be happy to answer any questions for Dr. Rynn. Plaintiff Jiang

considered whether it would be worthwhile for Dr. Heflin to reach out to

Defendant Rynn but decided against doing so as it was clear to Plaintiff Jiang

that Defendant Rynn would not support her no matter. Feeling discouraged

and victimized by Defendant Rynn’s bullying over the months since the audit

commenced and Defendant Rynn unilaterally cancelled her five-year grant,

Plaintiff Jiang engaged in introspection about the matter and determined to

pose a direct inquiry to Defendant Rynn about Plaintiff Jiang’s status at Duke.

   138. In October, another opportunity involving executive leadership in

  academic medicine (ELAM) became posted and once again Plaintiff Jiang

discussed with her chair, Defendant Rynn, and sought her support per the job

announcement. In a curt, one sentence response, Defendant Rynn replied: At

 this point in time, I am unable to support your application for this program.

Dr Jiang sought an explanation: “That’s disappointing. I’d highly appreciate

if you may provide me the reason(s) underlying your decision. Jan” the same



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day and again, Defendant Rynn’s reply was curt and lacked any substantive

    information: “It is based upon the issues we have already discussed.”

139. On August 2, 2019, Plaintiff wrote Defendant Rynn an email stating:

     Dear Moira,

     In thinking about our recent conversations, it appears that my role
     as a tenured, full Professor in our Department has changed
     significantly over the past year. I need you to clarify your position
     regarding several recurring issues that we have discussed over the
     past several months:

     1.    My research activities: It is my understanding that you have
           forbid[den] me from conducting any research in which I am
           a principal investigator. This restriction includes my
           examining data from previous studies, writing manuscripts,
           and applying for new funding from the NIH, industry, or
           other funding sources. Am I correct that this is your position,
           and if it is, when can I expect this restriction to be lifted?

     2.    My international collaborations: It is my understanding that
           you are not permitting me to pursue my ongoing
           collaborations with my longtime Chinese colleagues,
           including not allowing me to travel to China or developing a
           formal contract with academic centers in China. If this is
           correct, please provide me with an explanation for your
           position and an indication of under what circumstances will
           this restriction be lifted.

     3.    My professional activities: It is my understanding that you
           want to limit my professional activities to the inpatient
           service and to supervise and train residents and medical
           students on the inpatient service. Is this correct?




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     4.    My new R-01 grant that’s relinquished: It was my
           understanding at the meeting with you and Dr. Swamy that
           Dr. Swamy planned to compose a letter to NHLBI with
           reason(s) for the relinquishment. She would share the letter
           with me prior to communicate with NHLBI for the action.
           You did not think that was what Dr. Swamy meant.

     To make sure there is no misunderstanding, I would appreciate
     your confirming that this is how you have defined my role in the
     Department at this time and what I can expect going forward.
     Thank you for taking the time to respond to my request.

     Sincerely, Wei Jiang

140. On August 9, 2019, Defendant Rynn responded:

     Dear Jan,

     Thank you for your most recent email, although I will say that I
     was surprised to again see questions listed that we have provided
     answers to in multiple previous communications.

     To summarize, the research audit that remains underway
     regarding your studies is a serious matter and we appreciate your
     attention and full participation with of our colleagues in the School
     of Medicine who are working on our behalf to understand and
     guide us through the next steps. At this time, as the audits are
     underway, I am putting your approved research activities on hold,
     to include the submission of new awards. The findings to date
     clearly outline the need for additional training and resources to
     enable you to begin to work in research at the highest level of
     integrity and quality. As a senior faculty member and PI, I expect
     you to understand and recognize the importance of this support
     that the Department is providing to you at this time. I also remind
     you that the NIH and other federal agencies hold Duke – as well
     as the PI – responsible for adherence to quality.


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  The expectations for a senior level hospitalist provider are clear
  and consistent across our PDC provider group. I do understand you
  are scheduled to work and support patient care services across
  Duke Health inpatient services this fiscal year. In addition, again
  consistent with our training programs within the Department of
  Psychiatry, providers are expected and encouraged to work/teach
  trainees of all levels in their specific work setting.

  Lastly Jan, I do understand that this has been a terribly stressful
  time and I will again share that the senior leadership team for
  Research and the Chair’s office, along with our partners across the
  School of Medicine, are working in your long-term interest as we
  take the necessary steps to demonstrate your ability to conduct
  quality research.

  I do not at this time approve professional requests for extended
  travel that takes you from our clinical operational needs here at
  Duke, as well as the audit process related to your research
  program.

  All faculty have the same access to vacation and extended leave
  requests in accordance with the faculty           handbook,
  https://provost.duke.edu/sites/all/files/FHB.pdf. According to the
  handbook, faculty with twelve-month appointments in the Medical
  Center have compensation that covers eleven months of effort and
  one month of paid vacation. One month of paid vacation is equal to
  22 business days and PDC vacation policy. Please review these
  resources to determine any further leave at this time. Division
  Director approval is required for any extended leave related to
  FMLA etc.

  Thanks again Jan for your continued participation in the research
  inquiry and follow-up. We appreciate all that you do to support our
  patients and trainees across our inpatient services. We will
  continue to be in touch regarding feedback on research review.


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      Moira

141. Dr. Blumenthal and other members of the psychiatry department had

never seen a researcher and full professor prohibited from being prohibited

from doing research either in her own laboratory or in other laboratories. At

this time, due to Rynn’s refusal to let Plaintiff be involved in any research work

even though no patient safety concerns had ever been identified, Plaintiff was

reduced to providing only clinical services, which was unheard of.

142. In fact, Rynn sent word to Blumenthal through his staff that Plaintiff

was not to be paid for any work on his grants. Blumenthal refused to suspend

payments to Jiang. Rynn then directed Blumenthal to keep Jiang away from

working with any data.

143. Prior to the release of the final report, and when it became aware that

the IRB was going to consider the SCMR report, Plaintiff contacted Donna

Kessler on October 16, 2019, and expressed concern that “independent and

expert” evaluations had not been obtained as requested by the IRB. Plaintiff

also expressed concerns she, Plaintiff Jiang, as the principal investigator, and

her co-investigators, Dr. O’Connor, Dr. Velazquez, and Dr. Samad, had not

been allowed to obtain “independent expert opinion on these issues and report



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back to the Board with their conclusion.” Finally, Plaintiff expressed concerns

that she and her co- investigators were completely cut out of the process of

obtaining independent and expert options and that Dr. Douglas was selected

presumably by Defendant Rynn or others at her behest to do the analysis.

144. Plaintiff also told Kessler that the two -cardiologists who analyzed the

REMIT echo images originally had been trained on how to analyze REMIT echo

images. In addition, they analyzed all the images consensually whereas Dr.

Douglas only re-read a proportion of REMIT echo images for unclear reasons

and there is no indication that she read the images in consultation with any

colleagues, and certainly not with any colleagues trained in this area. Finally,

Dr. Douglas provided no explanation as to how she produced the EF scores she

included in her evaluation. In fact, the echo-cardiology lab which did the

original reading used software to analyze the REMIT echo images and produce

the original EF scores and the REMIT cardiologists validated these

measurements.

145. As for the actual design of the study which Dr. Douglas criticized, in fact,

the REMIT study was designed between 2003 and 2006 and used the best

methods at that time relating to when and how the echocardiogram should be




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utilized in mental stress and exercise stress testing. Dr. Douglas’ evaluation in

March 2019 imposed her opinion of 2019 design standards on a study designed

more than ten years prior.

146. Finally, Dr. Douglas failed to perform a thorough evaluation on the

REMIT echo images in that she did not re-read for the eligible participants

both baseline and endpoint mental stress echocardiograms for the same

participants. Instead, she only re-read a randomized sample of individuals

with baseline results and a different randomized sample of individuals with

endpoint results. Despite Dr. Douglas’ failure to re-read consistently both of

baseline and endpoint echocardiograms for a randomized group of participants

who had both baseline and endpoint echocardiograms, she provided a

statistical analysis to support her conclusions in paragraph 9 regarding

percentages of “agreement” with the original REMIT study findings concerning

both baseline and endpoint assessments.

147. O’Connor, Velazquez, and Samad had reviewed the re-evaluation of the

echocardiograms and concluded that they were flawed, and Plaintiff Jiang also

raised this issue with Donna Kessler as well, prior to the release date of the

report on October 22, 2019.




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148. Nonetheless, on October 22, 2019, the Duke Standing Committee on

Research Misconduct (SCRM) was issued and concluded that there was no

evidence of falsification or fabrication of study records. The report again noted

that the beta blocker and exercise stress testing amendments form the original

protocol and again alleged they were not communicated to the IRB as required.

But significantly, no new information was provided by the SCRM inquiry.

149. Despite having concluded that there was no research misconduct, which

should have been the end of the inquiry of the SCMR, the SCMR nonetheless

recommended:

      1.    The managing editors of the 2012 Am. Heart J. (Jiang et al.)
            and 2013 JAMA (Jiang et al.) publications should be
            contacted with the known information about the reporting of
            the REMIT study conduct and results to determine if
            corrections and/or retractions may be needed.

      2.    The Department/CRU, along with Plaintiff Jiang and the
            applicable co- authors, should review the other REMIT study
            publications to determine whether the research is accurately
            represented in those publications or if the managing editors
            of the journals should be contacted about possible corrections
            or retractions.

      3.    Plaintiff Jiang should attend a robust workshop on Good
            Clinical Practice and the requirements of clinical research
            equivalent to what would be needed to obtain certification as
            a Certified Principal Investigator or Certified Clinical
            Research Professional . . .


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      4.    If Plaintiff Jiang will be applying for future federal funding
            to conduct research, she should attend the Responsible
            Conduct of Research Short Course conducted by the Trent
            Center for Bioethics or an equivalent program.

150. Plaintiff Jiang was already scheduled to take personal leave, and not

scholarly leave, to visit China to do outreach and visit her family because of

Defendant Rynn’s refusal to approve scholarly leave (in an email on August 9,

2019). Thus, Plaintiff was in China from October 17 to November 22, 2019, and

thus on the date that the final SCMR report was issued.

151. Plaintiff Jiang was offered the opportunity to provide a response to the

SCMR report by December 6, 2019, but given her trip and her other work

expectations, on November 12, 2019, Plaintiff Jiang requested an extension

due to her need to carefully consider the report, given that over a year had been

spent between the OARC and the SCMR investigations/inquiries, and also due

to the fact that while in China, Plaintiff Jiang was having to care for her 87-

year old mother who had become critically ill.

152. On November 13, 2019, Donna Kessler, Duke Research Integrity Officer,

replied to Plaintiff Jiang’s request for an extension and denied it, stating that

the University’s response from the Dean Mary Klotman was due to the US




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DHHS Office of Research Integrity (ORI) by December 5th. Dr. Kessler did not

apparently consider whether the University could or should request an

extension of time due to Plaintiff Jiang’s request. Kessler then reiterated

Plaintiff Jiang’s deadline of November 18 to get her comments to Dr. Klotman

for a final submission on December 5, 2019.

153. On November 15, 2019, Plaintiff Jiang then reiterated an earlier

question that she had made regarding the Echo re-read matter previously

raised and included in the SCRM report and again questioned the source of the

allegations made to the US DHHS / NIH Research Integrity Office about

research misconduct. On the same day, Kessler replied but did not identify the

source of the allegations made about research misconduct.

154. As a result of the SCMR report and the false conclusions about

noncompliance with IRB approved protocols, Defendant Klotman then wrote

Plaintiff on November 22, 2019, prior to responding to the US DHHS regarding

the allegations of research misconduct. In her letter Defendant Klotman

agreed with the SCMR conclusion that confirmed insufficient evidence of

research misconduct and agree with the additional corrective actions

recommended by the SCMR. Dean Klotman stated she would consider Plaintiff




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Jiang’s response to the SCMR report to be provided by December 5, 2019.

155. On November 26, Plaintiff Jiang conferred with the Duke IRB chair Paul

Lantos and also with Ombudsman Thomas Metzloff regarding Plaintiff Jiang’s

desire to consult with the original REMIT cardiology co-investigators /

collaborators who provided the original cardiology and statistical analysis for

the original study due to their expertise in echocardiography. Dr. Lantos

emailed her and indicated that he “wanted to confirm, having spoken with

Jody, that the IRB would like the cardiologists who were on your study to have

the opportunity to review and respond to the echo audit, even if they are no

longer at Duke.” Plaintiff Jiang had explained that Defendant Rynn had

previously instructed her NOT to reach out to the original team who worked

on the study because they were no longer at Duke. In fact, when Plaintiff had

raised the issue with the IRB about Defendant Rynn’s forbidding her to contact

her co-investigators about the re-evaluation of the REMIT study, Paul Lantos

had responded as follows:

      My personal point of view is you did your science as a team and it
      should be the team that responds to an audit or investigation,
      especially for something like echo interpretation or statistics for
      which you have coinvestigators who are experts.

      I do not think we as the IRB have any authority to tell you whom



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      you can or can’t consult with, nor do we have the authority to
      override instructions from others to NOT speak with anyone.
      Tom will be able to answer this better than I, but I’m not sure you
      can really be prohibited from speaking with someone unless it’s on
      the advice of Duke counsel or it’s a case of protected information
      that can’t be shared. It’s worth contesting any instructions you’ve
      gotten to not speak with your collaborators if you feel they are
      unfair or against policy.

156. On December 12, 2019, the Duke IRB was provided a copy of the OARC

report and reviewed the same on December 19, 2019, to determine whether the

event represented an Unanticipated Problem Involving Risk to Subjects or

Others (UPIRTSO). Having concluded it did not, on December 26, the Duke

IRB issued a notice of review stating that no UPIRTSO had occurred and that

further reiterating that the “PI and Investigators, with the support of the CRU

and School of Medicine, should seek independent expert opinion on these issues

and report back to the Board with their conclusions.”

157. Notwithstanding     the   Dean’s   recommendations     that   the   SCMR

recommendations be implemented, in January 2020, Defendant Rynn then

imposed draconian sanctions which had the effect of ending Plaintiff’s research

career completely.

158. Again, Dr. Blumenthal and other physicians in the Department had

never seen such disproportionate sanctions applied and over a difference of


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opinion about the inclusion/exclusion of subjects in a study and protocols

amended due to safety reasons. While other members of the department had

noticed that Rynn had targeted other non-White, (of Asian and Indian descent)

older male department members, they also noted that she had never gone after

anyone to the extent as Plaintiff.

159. On January 29, 2020, Defendant Rynn admitted to Plaintiff Jiang that

she had instigated all of the reviews and audits even though she never believed

that Plaintiff or her co-investigators had engaged in any research misconduct.

160. At this same meeting, Plaintiff Jiang then informed Defendant Rynn

that she had a research support fund of $48,847.00 with the Behavioral

Medicine Research Center (BMRC). Defendant Rynn then informed Plaintiff

Jiang that she could not use that money for her salary support.

161. Dr. Blumenthal and others in the department had never observed other

physicians, included white male physicians / researchers, be subjected to such

treatment.

162. Although the BMRC had previously been led by Dr. Redford Williams,

Plaintiff Jiang was aware that Defendant Rynn had removed Dr. Williams

from the directorship sometime in middle of 2019 and had herself has been




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serving the interim director of the BMRC since doing so.

163. Furthermore, Plaintiff Jiang had a $20,805.40 fund for mental health

outreach in her own discretionary account, but since March 2019, Defendant

Rynn had forbidden Plaintiff Jiang to leave the Duke campus for any academic

activities, such that this money was also unavailable to her.

164. Despite having reduced Plaintiff’s salary to less than $50,000, and

restricted her to solely clinical duties, in December 2019, Rynn offered a salary

of $220,000/year to a non-Asian younger physician with 90% clinical duties

comparable to the duties being performed by Plaintiff at that time.

165. During Rynn’s tenure as Dean, she also instigated audits and

investigations of two other physicians from India who eventually left

employment with Defendants after Rynn’s hostile treatment which was

excessive in comparison to treatment of similarly situated younger, white

colleagues.

166. In April 2020, Plaintiff appealed to Defendant Klotman who informed

Plaintiff on May 29, 2020, that she supported

      the decision of Defendant Rynn to implement more restrictive
      corrective actions based on the totality of information available to
      her regarding your work within the Department. The corrective
      actions you outline from my November 22, 2019 letter to Donna



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      Kessler are based solely on the recommendations provided by the
      Standing Committee on Misconduct in Research. The corrective
      actions outlined in my November 22, 2019 letter do not take into
      account other audits, reviews, or information known to the
      Department at the time Dr. Rynn made her decision.

167. Despite inquiry by Plaintiff, neither Defendant Klotman nor Defendant

Rynn never identified the additional “totality of the information” nor “other

audits, reviews, or information known to the Department” at the time

Defendant Rynn imposed her more severe sanctions.

168. On November 12, 2020, and then on November 20, 2020, when she filed

her charge of discrimination, Plaintiff complained about the discriminatory

treatment to which Rynn had subjected her.

169. On December 18, 2020, Defendants retaliated against Plaintiff by

writing to the editor of JAMA calling into question the legitimacy of the article

regarding the REMIT study. Exhibit 4, pp 1-3.

170. The only corrections noted for the JAMA article were typographical in

nature. Exhibit 2, pp 1-2.

171. Plaintiff wrote a letter to the editor of JAMA accepting the need for

technical corrections and providing a response to Compton’s allegations about

the inclusion/exclusion criteria. Exhibit 2, pp 4-6.




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172. On December 22, 2020, Compton wrote Plaintiff’s co-investigators about

the JAMA article. Exhibit 2, pp 8-10.

173. On January 21, 2021, on behalf of the co-investigators, Chris O’Connor

wrote JAMA questioning the internal methodology used to evaluate the

REMIT study, and raising numerous other issues regarding the Defendants’

evaluation of the REMIT study. Exhibit 2, pp 11-15.

174. On March 18, 2022, Geeta K. Swamy, M.D. wrote to JAMA again and

made allegations that the study did not comply with the protocol initially

approved by the IRB. Exhibit 2, pp 15-16. Swamy omitted any mention that

the amendment of the protocol was due to safety issues which was specifically

allowed by law. She also alleged that there were statistical issues with the

data analysis even though the data analysis was based on “intention-to-treat”

which does not require evaluation of patient compliance/adherence to

inclusion/exclusion   criterion   after     randomization.   This   allegation

demonstrated a fundamental misunderstanding of the intention to treat

analysis. Swamy also has much less experience as a researcher than Plaintiff

and has a much thinner publication record.

175. JAMA requested Plaintiff respond to Defendants’ latest attack on the




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JAMA article authored by Plaintiff and her co-investigators. On April 18, 2021,

Plaintiff updated JAMA on her forthcoming response to Defendants’

correspondence regarding the JAMA article. Exhibit 2, pp 17-18.

176. On April 19, 2021, Plaintiff provided a fulsome response to Defendants’

continued misguided, malicious, discriminatory and retaliatory attacks on the

JAMA article. Exhibit 2, pp 19-26.

177. Since September 12, 2022, Plaintiff has been in China on leave taking

care of her mother and has requested Sabbatical leave, to which she is entitled

as a tenured faculty member. Defendants have refused to provide her any

response to her repeated requests made on at least four occasions, with the last

one being March 4, 2023. Moreover, Plaintiff’s husband was recently informed

that Defendants had providing information to government authorities

indicating the Plaintiff had “retired” which she clearly has not. This action is

again indicative of Defendants’ discriminatory treatment of Plaintiff based on

her age.

                  COUNT ONE: TITLE VII AND ADEA
                    RACE, COLOR, AGE, AND SEX
                DISCRIMINATION AND RETALIATION
        IN VIOLATION AGAINST DEFENDANTS DUKE AND DUHS

15.     Plaintiff is female, of the Chinese race and ethnicity, and older than 40



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(over 70).

16.     Defendant Rynn is much younger than Plaintiff.

17.     Plaintiff is a member of several protected classes (older, non-White,

Asian, and female) and was qualified for her position when she was subjected

to a hostile work environment and discriminated against and retaliated

against due to her membership in these protected classes.

18.     Defendants took multiple adverse actions against Plaintiff due to

discrimination based on her age, sex, race, and ethnicity.

19.     Defendants took multiple adverse actions against Plaintiff due to her

opposition to illegal discrimination.

20.     Defendants treated other non-white (Asian and Indian descent)

department members more favorably than Plaintiff.

21.     Defendants treated other male department members more favorably

than Plaintiff.

22.     Defendants treated other younger department members more favorably

than Plaintiff.

23.     Defendants treated other department members who did not complain

about illegal discrimination more favorably than Plaintiff. When Plaintiff




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complained about discrimination, Defendants took additional adverse actions

against Plaintiff due to her protected activity.

24.     Plaintiff has suffered damages as a result of Defendant’s unlawful

discriminatory and retaliatory actions, including emotional distress, past and

future lost wages and benefits, and the costs of bringing this action.

25.     Defendant intentionally violated Plaintiff’s rights under Title VII and

the ADEA, with malice or reckless indifference, and, as a result, is liable for

punitive damages.

   COUNT TWO: RACE DISCRIMINATION AND RETALIATION
 SECTIONS 1981 AGAINST DEFENDANT RYNN AND DEFENDANT

26.     Plaintiff Jiang’s race and national origin is not white / Caucasian (Asian).

27.     Defendants treated other non-white / Caucasian (non-Asian and non-

Indian descent) employees more favorably.

28.     Defendants took multiple adverse actions against Plaintiff due to her

opposition to illegal discrimination.

29.     Plaintiff suffered damages due to Defendants unlawful discriminatory

and retaliatory actions, including emotional distress, past and future lost

wages and benefits, and the costs of bringing this action.

30.      Defendant intentionally violated Plaintiff’s rights under section 1981



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with malice or reckless indifference, and, as a result, is liable for punitive

damages.


                           PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff respectfully prays that this Court:

1.     Issue an injunction directing the Defendants to restore Plaintiff’s

previous status;

2.     That this Court enjoin the Defendants from discriminating on the basis

on race, color, sex and age in the terms and conditions of employment and from

engaging in retaliatory actions when dealing with individuals who complain

about illegal discrimination;

3.     That this Court order Defendants to make whole Plaintiff by providing

her with appropriate lost earnings and other lost benefits, with prejudgment

interest, in amounts to be proved at trial, and other affirmative relief necessary

to eradicate the effects of its unlawful employment practices, including, but not

limited to, reinstatement to her previous salary and restoration of the amounts

she has lost in research funding as a result of Defendants’ actions;

4.     That this Court order Defendants to make whole Plaintiff by providing

compensation for nonpecuniary losses, including emotional pain, suffering,



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inconvenience, and mental anguish in amounts to be proven at trial;

5.     That this Court order Defendants to institute and carry out policies,

practices, and programs which provide equal opportunities to qualified

individuals, and which eradicate the effects of past and present unlawful

practices, including discrimination and retaliation;

6.     That this Court award the Plaintiff reasonable attorney’s fees and the

other costs of this action;

7.     That this Court award Plaintiff such other and further relief as may be

just and equitable.

                          JURY TRIAL DEMANDED

       Plaintiff requests a jury trial on all questions of fact raised by the

Complaint.

       Respectfully submitted, this the 22nd day of March 2023.

 /S/ VALERIE BATEMAN                       /S/ JUNE ALLISON
 NC State Bar: 13417                       NC State Bar: 9673
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                              Attorneys for Plaintiff




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                        CERTIFICATE OF SERVICE


      I hereby certify that I electronically filed the foregoing AMENDED

COMPLAINT using the CM/ECF filing system which will automatically send

email notification of such filing to the all counsel of record.

      This the 22nd day of March 2023.

                                      /S/ VALERIE L. BATEMAN
                                      Valerie L. Bateman
                                      NEW SOUTH LAW FIRM




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         Moira Ann Rynn
         Consulting Professor in the Department of Psychiatry and
         Behavioral Sciences

         Dr. Rynn is Chair for the Department of Psychiatry and Behavioral
         Sciences at Duke University School of Medicine. She is an
         internationally-renowned expert in the treatment of pediatric mood
         and anxiety disorders. She has spent her career focused on
         improving treatments for children, adolescents, and young adults
         with treatment refractory mood and anxiety disorders. Her most
         recent studies have examined novel augmentation treatment
         strategies for pediatric Obsessive-Compulsive Disorder and
         treatment models for adolescent depression in the primary care
         setting. Dr. Rynn received her medical degree from Rutgers
         University. She completed her internship and residency in
         psychiatry at the University of Pennsylvania Perelman School of
         Medicine and served as Chief Resident. After completing her adult
         psychiatry training, she completed a Child and Adolescent
         Psychiatry Fellowship at the Children’s Hospital of Philadelphia
         followed by a Neuropsychopharmacology Research Fellowship
         sponsored by the NIMH at the University of Pennsylvania Perelman
         School of Medicine. Prior to joining Columbia University, Dr. Rynn
         was medical director of the Mood and Anxiety Disorders Section of
         the Department of Psychiatry at the University of Pennsylvania
         Perelman School of Medicine. (less)

         Current Appointments & Affiliations
            Consulting Professor in the Department of Psychiatry and Behavioral
            Sciences, Psychiatry, Child & Family Mental Health & Community
            Psychiatry, Psychiatry & Behavioral Sciences          2017

            Chair of Psychiatry and Behavioral Sciences, Psychiatry & Behavioral
            Sciences, Clinical Science Departments         2017

            Interim Co-Division Director of Behavioral Medicine and
            Neurosciences, Psychiatry & Behavioral Sciences, Behavioral
            Medicine & Neurosciences, Psychiatry & Behavioral Sciences               2020



         Contact Information
              moira.rynn@duke.edu


         Background
              Education, Training, & Certifications
                   Postdoctoral Research Fellow, Psychiatry, National Institutes of Health
                    1997 - 1998

                   Resident, Division of Child and Adolescent Psychiatry, Psychiatry,
                   Children's Hospital of Philadelphia 1995 - 1997

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                   Chief Resident, Psychiatry, Psychiatry, University of Pennsylvania, School
                   of Medicine 1994 - 1995

                   Resident, Adult Psychiatry, Psychiatry, University of Pennsylvania, School
                   of Medicine 1992 - 1995

                   Intern in Psychiatry, Psychiatry, University of Pennsylvania, School of
                   Medicine 1991 - 1992

                   M.D., Rutgers, New Jersey Medical School      1991

              Previous Appointments & Affiliations
                   Interim Co-Division Director of General Psychiatry, Psychiatry &
                   Behavioral Sciences, Clinical Science Departments 2019 - 2020

                   Interim Division Director of Brain Stimulation and Neurophysiology,
                   Psychiatry & Behavioral Sciences, Clinical Science Departments
                    2019 - 2020


              Leadership & Clinical Positions at Duke
                   Chair, Department of Psychiatry and Behavioral Sciences


         Research
              External Relationships
                   Allergen

                   Boston Children's Hospital

                   Everett Clinical Reserach

                   Otsuka Pharmaceuticals

                   University of California Irvine
                   Up to Date
                   This faculty member (or a member of their immediate family) has reported
                   outside activities with the companies, institutions, or organizations listed
                   above. This information has been reported to the health system leadership
                   and, when appropriate, management plans are in place to address potential
                   conflicts of interest.


         Publications & Artistic Works
              Selected Publications

                   Academic Articles
                         Wang, Zhishun, Martine Fontaine, Marilyn Cyr, Moira A. Rynn, Helen
                         Blair Simpson, Rachel Marsh, and David Pagliaccio. “Subcortical
                         shape in pediatric and adult obsessive-compulsive disorder.”
                         Depress Anxiety 39, no. 6 (June 2022): 504–14.
                         https://doi.org/10.1002/da.23261.
                          Full Text   Link to Item


                         Bushnell, Greta A., Moira A. Rynn, Stephen Crystal, Tobias Gerhard,
                         and Mark Olfson. “Simultaneous Benzodiazepine and SSRI Initiation
                         in Young People With Anxiety Disorders.” J Clin Psychiatry 82, no. 6
                         (October 19, 2021). https://doi.org/10.4088/JCP.20m13863.

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                          Full Text   Link to Item


                         Movaghar, Arezoo, David Page, Krishanu Saha, Moira Rynn, and Jan
                         Greenberg. “Machine learning approach to measurement of
                         criticism: The core dimension of expressed emotion.” J Fam Psychol
                         35, no. 7 (October 2021): 1007–15.
                         https://doi.org/10.1037/fam0000906.
                          Full Text   Link to Item


                         Cyr, Marilyn, David Pagliaccio, Paula Yanes-Lukin, Pablo Goldberg,
                         Martine Fontaine, Moira A. Rynn, and Rachel Marsh. “Altered
                         fronto-amygdalar functional connectivity predicts response to
                         cognitive behavioral therapy in pediatric obsessive-compulsive
                         disorder.” Depress Anxiety 38, no. 8 (August 2021): 836–45.
                         https://doi.org/10.1002/da.23187.
                          Full Text   Link to Item


                         Weidle, Bernhard, Tord Ivarsson, Fernando R. Asbahr, Rosa Calvo,
                         David Mataix-Cols, Moira A. Rynn, and Eric A. Storch. “Specialty
                         knowledge and competency standards for pharmacotherapy for
                         pediatric obsessive-compulsive disorder.” Psychiatry Res 299 (May
                         2021): 113858. https://doi.org/10.1016/j.psychres.2021.113858.
                          Full Text   Link to Item



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                   Book Sections
                         Strawn, J. R., E. T. Dobson, A. B. Ramesh, S. A. Berger, and M. A.
                         Rynn. “Pharmacologic treatment of pediatric anxiety disorders.” In
                         Pediatric Anxiety Disorders, 359–84, 2019.
                         https://doi.org/10.1016/B978-0-12-813004-9.00017-7.
                          Full Text


                         Heleniak, C. M., T. Kaur, K. D. Ghalib, and M. A. Rynn. “Tricyclic
                         Antidepressants and Monoamine Oxidase Inhibitors for the
                         Treatment of Child and Adolescent Psychiatric Disorders.” In
                         Pharmacotherapy of Child and Adolescent Psychiatric Disorders:
                         Third Edition, 105–29, 2012.
                         https://doi.org/10.1002/9781119958338.ch7.
                          Full Text


                         Vidair, H. B., and M. A. Rynn. “Childhood anxiety disorders: Best
                         treatment options and practice.” In Anxiety Disorders: Theory,
                         Research, and Clinical Perspectives, 306–22, 2010.
                         https://doi.org/10.1017/CBO9780511777578.029.
                          Full Text



                   Conference Papers
                         Duarte, Cristiane S., Chiaying Wei, Shuai Wang, Anne M. Albano,
                         Moira A. Rynn, John T. Walkup, and Mark Olfson. “3.21 DSM-5
                         ANXIETY DISORDERS AMONG YOUNG ADULTS IN THE UNITED
                         STATES.” In Journal of the American Academy of Child &Amp;
                         Adolescent Psychiatry, 55:S148–49. Elsevier BV, 2016.
                         https://doi.org/10.1016/j.jaac.2016.09.153.
                          Full Text




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                         Duarte, Cristiane S., Maria C. Zerrate, and Moira A. Rynn. “47.0
                         Bringing Evidence-Based Treatment to Emerging Adults With
                         Anxiety Disorders in Three Clinical Settings: The Youth Anxiety
                         Center.” In Journal of the American Academy of Child &Amp;
                         Adolescent Psychiatry, 55:S71–72. Elsevier BV, 2016.
                         https://doi.org/10.1016/j.jaac.2016.07.719.
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                         Fitzgerald, Kate D., Rachel Marsh, and Moira A. Rynn. “21.0
                         Abnormal Neural Substrate for Performance Monitoring in Pediatric
                         Obsessive-Compulsive Disorder: Implications for Understanding
                         Treatment Response.” In Journal of the American Academy of Child
                         &Amp; Adolescent Psychiatry, 55:S290–S290. Elsevier BV, 2016.
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                          Full Text


                         Marsh, Rachel, Emily J. Steinberg, Pablo H. Goldberg, Paula Yanes-
                         Lukin, Dylan Braun, Chiaying Wei, Christa D. Labouliere, and Moira
                         A. Rynn. “21.1 COGNITIVE-BEHAVIORAL THERAPY–BASED CHANGES
                         IN CONTROL AND REWARD CIRCUITS IN PEDIATRIC OBSESSIVE-
                         COMPULSIVE DISORDER.” In Journal of the American Academy of
                         Child &Amp; Adolescent Psychiatry, 55:S290–S290. Elsevier BV,
                         2016. https://doi.org/10.1016/j.jaac.2016.07.238.
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                         Mufson, Laura, and Moira A. Rynn. “Interpersonal Psychotherapy for
                         Depression: Understanding the Core of the Interpersonal
                         Psychotherapy for Depressed Adolescents Model and Its
                         Adaptations.” In Journal of the American Academy of Child &Amp;
                         Adolescent Psychiatry, 55:S38–S38. Elsevier BV, 2016.
                         https://doi.org/10.1016/j.jaac.2016.07.582.
                          Full Text



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         Wei Jiang
         Professor of Psychiatry and Behavioral Sciences
         Professor of Medicine
         Affiliate, Duke Global Health Institute
         3050 Hosp South, Durham, NC 27710
         Box 3366 Med Ctr, Durham, NC 27710

         (919) 668-0762
         jiang001@mc.duke.edu

         Dr. Wei Jiang leads the Neuropsychocardiology laboratory at Duke
         University Medical Center. Dr. Jiang's main research interests include
         understanding the interplay between the mind-brain activity and
         cardiovascular system, and discovering interventions that modify the
         negative impact of negative emotions on the cardiovascular system. Her
         research covers the spectrum of epidemiological cohort study, translational
         investigation, clinical trials, and implementational evaluation. Another
         research area of Dr. Jiang is to investigate effective methods for mental health task shifting in low and middle
         income countries, particularly aiming in China.



         Education
                M.D. 1982 - Binzhou Medical School (China)


         Grants
                Exercise and Pharmacotherapy for Anxiety in Cardiac Patients awarded by National Institutes of Health 2015 -
                2022
                Biomarkers of Mental Stress Induced Myocardial Ischemia and CHD Prognosis awarded by National Institutes
                of Health 2014 - 2019
                Mental Stress-Induced Left Ventricular Dysfunction and Mitochondrial Dysfunction in Women awarded by
                National Institutes of Health 2018 - 2018
                2/3 Multi-Site - Omega-3 for Co-Morbid Depression & HF Treatment (OCEAN) awarded by Thomas Jefferson
                University 2015 - 2017
                3/3 Multi-Site Omega-3 for Co-Morbid Depression & HF Treatment (OCEAN) awarded by University of North
                Carolina - Chapel Hill 2015 - 2017
                1/3 Multi-Site - Omega-3 for Co-Morbid Depression & HF Treatment (OCEAN) awarded by National Institutes
                of Health 2013 - 2017
                Nocturnal Deterusor Overactivity In Overactive Bladder Syndrome awarded by National Institutes of Health
                2010 - 2014
                Responses of Myocardial Ischemia to Sertraline Treatment awarded by National Institutes of Health 2006 -
                2013
                Exercise, Depression, and Cardiac Risk awarded by National Institutes of Health 2006 - 2012
                Safety and Efficacy of Sertraline for Depression CHF awarded by National Institutes of Health 2003 - 2011

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Grants
 Safety and Efficacy of Sertraline for Depression CHF awarded by National Institutes of Health 2003 - 2011
 Development of the Inventory of Depressive Symptomatology awarded by National Institutes of Health 2003 -
 2006
 Stress & Myocardial Ischemia: Mechanisms & Treatment awarded by National Institutes of Health 1998 - 2006
 Inflammatory Biomarkers in Depressed CHF Patients awarded by National Institutes of Health 2003 - 2004

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         Publications
         Blumenthal, James A., Patrick J. Smith, Wei Jiang, Alan Hinderliter, Lana L. Watkins, Benson M. Hoffman, William E.
         Kraus, Lawrence Liao, Jonathan Davidson, and Andrew Sherwood. “Effect of Exercise, Escitalopram, or Placebo on
         Anxiety in Patients With Coronary Heart Disease: The Understanding the Benefits of Exercise and Escitalopram in
         Anxious Patients With Coronary Heart Disease (UNWIND) Randomized Clinical Trial.” Jama Psychiatry 78, no. 11
         (November 1, 2021): 1270–78. https://doi.org/10.1001/jamapsychiatry.2021.2236.

         Malian, Hannah M., Patrick J. Smith, Benson Hoffman, Wei Jiang, Katharine Ammerman, William E. Kraus, Alan
         Hinderliter, Andrew Sherwood, and James A. Blumenthal. “Effects of Acute Exercise on Anxiety Ratings in Patients
         With Coronary Heart Disease and Elevated Anxiety.” J Cardiopulm Rehabil Prev 41, no. 4 (July 1, 2021): 277–81.
         https://doi.org/10.1097/HCR.0000000000000579.

         Cheng, Pu, Guohua Xia, Peng Pang, Bo Wu, Wei Jiang, Yong-Tong Li, Mei Wang, et al. “COVID-19 Epidemic Peer
         Support and Crisis Intervention Via Social Media.” Community Ment Health J 56, no. 5 (July 2020): 786–92.
         https://doi.org/10.1007/s10597-020-00624-5.

         Jiang, Wei. “Depression and Cardiovascular Disorders in the Elderly.” Clin Geriatr Med 36, no. 2 (May 2020): 211–
         19. https://doi.org/10.1016/j.cger.2019.11.003.

         Zhang, Ying, Xiaozhen Lv, Wei Jiang, Yun Zhu, Weixian Xu, Yongdong Hu, Wanxin Ma, et al. “Effectiveness of a
         telephone-delivered psycho-behavioural intervention on depression in elderly with chronic heart failure:
         rationale and design of a randomized controlled trial.” Bmc Psychiatry 19, no. 1 (May 27, 2019): 161.
         https://doi.org/10.1186/s12888-019-2135-2.

         Jiang, Wei, David J. Whellan, Kirkwood F. Adams, Michael A. Babyak, Stephen H. Boyle, Jennifer L. Wilson, Chetan
         B. Patel, Joseph G. Rogers, William S. Harris, and Christopher M. O’Connor. “Long-Chain Omega-3 Fatty Acid
         Supplements in Depressed Heart Failure Patients: Results of the OCEAN Trial.” Jacc Heart Fail 6, no. 10 (October
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         Jiang, Wei. “Depression and Cardiovascular Disorders in the Elderly.” Psychiatr Clin North Am 41, no. 1 (March
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         Wasserman, Brian, and Wei Jiang. “Lithium Toxicity after Roux-en-Y Gastric Bypass is Not Just Limited to
         Perioperative Period.” Psychosomatics 59, no. 2 (2018): 206. https://doi.org/10.1016/j.psym.2017.10.003.

         Alenezi, Fawaz, Beverly H. Brummett, Stephen H. Boyle, Zainab Samad, Michael A. Babyak, Nabil Alzaeim, Jennifer
         Wilson, et al. “Usefulness of Myocardial Annular Velocity Change During Mental Stress to Predict Cardiovascular
         Outcome in Patients With Coronary Artery Disease (From the Responses of Mental Stress-Induced Myocardial
         Ischemia to Escitalopram Treatment Trial).” Am J Cardiol 120, no. 9 (November 1, 2017): 1495–1500.
         https://doi.org/10.1016/j.amjcard.2017.07.039.

         Sun, Julia L., Stephen H. Boyle, Zainab Samad, Michael A. Babyak, Jennifer L. Wilson, Cynthia Kuhn, Richard C.
         Becker, et al. “Mental stress-induced left ventricular dysfunction and adverse outcome in ischemic heart disease
         patients.” Eur J Prev Cardiol 24, no. 6 (April 2017): 591–99. https://doi.org/10.1177/2047487316686435.


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         Past Appointments
                Assistant Professor of Medicine
                Associate Professor of Psychiatry and Behavioral Sciences
https://medicine.duke.edu/profile/wei-jiang                                                                                    2/3
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         Publications
         Sun, Julia L., Stephen H. Boyle, Zainab Samad, Michael A. Babyak, Jennifer L. Wilson, Cynthia Kuhn, Richard C.
         Becker, et al. “Mental stress-induced left ventricular dysfunction and adverse outcome in ischemic heart disease
         patients.” Eur J Prev Cardiol 24, no. 6 (April 2017): 591–99. https://doi.org/10.1177/2047487316686435.

         Feigal, Jacob P., Stephen H. Boyle, Zainab Samad, Eric J. Velazquez, Jennifer L. Wilson, Richard C. Becker, Redford
         B. Williams, et al. “Associations between positive emotional well-being and stress-induced myocardial ischemia:
         Well-being scores predict exercise-induced ischemia.” Journal of Psychosomatic Research 93 (February 2017): 14–
         18. https://doi.org/10.1016/j.jpsychores.2016.11.012.

         Blumenthal, James A., Bryan J. Feger, Patrick J. Smith, Lana L. Watkins, Wei Jiang, Jonathan Davidson, Benson M.
         Hoffman, et al. “Treatment of anxiety in patients with coronary heart disease: Rationale and design of the
         UNderstanding the benefits of exercise and escitalopram in anxious patients WIth coroNary heart Disease
         (UNWIND) randomized clinical trial.” Am Heart J 176 (June 2016): 53–62. https://doi.org/10.1016/j.ahj.2016.03.003.

         Jiang, Wei. “Emotional triggering of cardiac dysfunction: the present and future.” Curr Cardiol Rep 17, no. 10
         (October 2015): 91. https://doi.org/10.1007/s11886-015-0635-3.

         Xiong, Glen L., Kevin Prybol, Stephen H. Boyle, Russell Hall, Robert D. Streilein, David C. Steffens, Ranga Krishnan,
         et al. “Inflammation Markers and Major Depressive Disorder in Patients With Chronic Heart Failure: Results From
         the Sertraline Against Depression and Heart Disease in Chronic Heart Failure Study.” Psychosom Med 77, no. 7
         (September 2015): 808–15. https://doi.org/10.1097/PSY.0000000000000216.

         Boyle, Stephen H., Wayne R. Matson, Eric J. Velazquez, Zainab Samad, Redford B. Williams, Swati Sharma, Beena
         Thomas, Jennifer L. Wilson, Christopher O’Connor, and Wei Jiang. “Metabolomics analysis reveals insights into
         biochemical mechanisms of mental stress-induced left ventricular dysfunction.” Metabolomics 11, no. 3 (June 1,
         2015): 571–82. https://doi.org/10.1007/s11306-014-0718-y.

         Jiang, W., S. H. Boyle, T. L. Ortel, Z. Samad, E. J. Velazquez, R. W. Harrison, J. Wilson, et al. “Platelet aggregation and
         mental stress induced myocardial ischemia: Results from the Responses of Myocardial Ischemia to Escitalopram
         Treatment (REMIT) study.” American Heart Journal 169, no. 4 (April 1, 2015): 496-507.e1.
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         Jiang, Wei, Stephen H. Boyle, Thomas L. Ortel, Zainab Samad, Eric J. Velazquez, Robert W. Harrison, Jennifer
         Wilson, et al. “Platelet aggregation and mental stress induced myocardial ischemia: Results from the Responses
         of Myocardial Ischemia to Escitalopram Treatment (REMIT) study.” Am Heart J 169, no. 4 (April 2015): 496-507.e1.
         https://doi.org/10.1016/j.ahj.2014.12.002.

         Zhu, Chunyan, Li Chen, Liming Ou, Qingshan Geng, and Wei Jiang. “Relationships of mental health problems with
         stress among civil servants in Guangzhou, China.” Community Ment Health J 50, no. 8 (November 2014): 991–96.
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         Samad, Zainab, Stephen Boyle, Mads Ersboll, Amit N. Vora, Ye Zhang, Richard C. Becker, Redford Williams, et al.
         “Sex differences in platelet reactivity and cardiovascular and psychological response to mental stress in patients
         with stable ischemic heart disease: insights from the REMIT study.” J Am Coll Cardiol 64, no. 16 (October 21, 2014):
         1669–78. https://doi.org/10.1016/j.jacc.2014.04.087.


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         Publications
         Zhu, Chunyan, Qingshan Geng, Li Chen, Hongling Yang, and Wei Jiang. “Impact of an educational programme on
         reproductive health among young migrant female workers in Shenzhen, China: an intervention study.” Int J Behav
         Med 21, no. 4 (August 2014): 710–18. https://doi.org/10.1007/s12529-014-9401-y.


         Newhouse, Amy, and Wei Jiang. “Heart failure and depression.” Heart Fail Clin 10, no. 2 (April 2014): 295–304.
         https://doi.org/10.1016/j.hfc.2013.10.004.

         Ersbøll, Mads, Fawaz Al Enezi, Zainab Samad, Brenda Sedberry, Stephen H. Boyle, Christopher O’Connor, Wei
         Jiang, Eric J. Velazquez, and Eric J. REMIT Investigators. “Impaired resting myocardial annular velocities are
         independently associated with mental stress-induced ischemia in coronary heart disease.” Jacc Cardiovasc
         Imaging 7, no. 4 (April 2014): 351–61. https://doi.org/10.1016/j.jcmg.2013.10.014.


         Samad, Zainab, Stephen Boyle, Amit N. Vora, Richard C. Becker, Thomas L. Ortel, Cynthia Kuhn, Redford B.
         Williams, et al. “Sex Differences in Platelet Reactivity, Cardiovascular and Psychological Response to Mental Stress
         in Patients With Known Coronary Artery Disease: Data From the Responses of Mental Stress Induced Myocardial
         Ischemia to Escitalopram Treatment Study.” In Circulation, Vol. 128. LIPPINCOTT WILLIAMS & WILKINS, 2013.

         Jiang, W., C. M. O’Connor, and E. J. Velazquez. “Therapy for mental stress-induced myocardial ischemia - Reply.”
         Jama 310, no. 13 (October 2, 2013): 1401–2. https://doi.org/10.1001/jama.2013.277963.


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         ischemia--reply.” Jama 310, no. 13 (October 2, 2013): 1401–2. https://doi.org/10.1001/jama.2013.277975.

         Miguel-Hidalgo, Jose Javier, Wei Jiang, Lisa Konick, James C. Overholser, George J. Jurjus, Craig A. Stockmeier,
         David C. Steffens, K Ranga R. Krishnan, and Grazyna Rajkowska. “Morphometric analysis of vascular pathology in
         the orbitofrontal cortex of older subjects with major depression.” Int J Geriatr Psychiatry 28, no. 9 (September
         2013): 959–70. https://doi.org/10.1002/gps.3911.

         Zhu, Chunyan, Qingshan Geng, Hongling Yang, Li Chen, Xianhua Fu, and Wei Jiang. “Quality of life in China rural-
         to-urban female migrant factory workers: a before-and-after study.” Health Qual Life Outcomes 11 (July 23, 2013):
         123. https://doi.org/10.1186/1477-7525-11-123.

         Deepmala, Deepmala, Lauren Franz, Carolina Aponte, Mayank Agrawal, and Wei Jiang. “Identification of provider
         characteristics influencing prescription of analgesics: a systematic literature review.” Pain Pract 13, no. 6 (July
         2013): 504–13. https://doi.org/10.1111/papr.12007.

         Jiang, Wei, Eric J. Velazquez, Maragatha Kuchibhatla, Zainab Samad, Stephen H. Boyle, Cynthia Kuhn, Richard C.
         Becker, et al. “Effect of escitalopram on mental stress-induced myocardial ischemia: results of the REMIT trial.”
         Jama 309, no. 20 (May 22, 2013): 2139–49. https://doi.org/10.1001/jama.2013.5566.



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         Past Appointments
                Assistant Professor of Medicine
                Associate Professor of Psychiatry and Behavioral Sciences
                Professor of Psychiatry and Behavioral Sciences
                Assistant Professor of Medicine
                Assistant Professor of Psychiatry and Behavioral Sciences
                Associate Professor of Psychiatry and Behavioral Sciences
https://medicine.duke.edu/profile/wei-jiang                                                                                     2/3
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3/22/23, 10:01 PM                                                           Wei Jiang | Duke Department of Medicine




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3/22/23, 10:08 PM                                                              Wei Jiang | Duke Department of Medicine




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                Associate Professor of Psychiatry and Behavioral Sciences
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                                              Case 1:22-cv-00101-LCB-JEP Document 15-1 Filed 03/22/23 Page 87 of 119
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                                              Case 1:22-cv-00101-LCB-JEP Document 15-1 Filed 03/22/23 Page 91 of 119
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         Past Appointments
                Assistant Professor of Medicine
                Associate Professor of Psychiatry and Behavioral Sciences
                Professor of Psychiatry and Behavioral Sciences
                Assistant Professor of Medicine
                Assistant Professor of Psychiatry and Behavioral Sciences
                Associate Professor of Psychiatry and Behavioral Sciences
                Associate Professor of Medicine


         Newsfeeds
                At the Epicenter of COVID-19
                Stress May Be Harder on Women's Hearts than Men's
                Stress May Be Harder on Women's Hearts than Men's

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         3050 Hosp South, Durham, NC 27710

         MAILING ADDRESS
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                                        CONFIDENTIAL

                                                                                          December 18, 2020

To: Dr. Howard Bauchner

Re: JAMA. 2013;309(20):2139-2149. doi:10.1001/jama.2013.5566

Dear Dr. Bauchner,

As director of the Psychiatry Clinical Research Unit (CRU), I am contacting you regarding the
manuscript published in JAMA on May 22, 2013 entitled, “Effect of escitalopram on mental stress-
induced myocardial ischemia: Results of the REMIT trial.” The REMIT trial examined the effects
of 6 weeks of escitalopram treatment vs. placebo on mental-stress-induced myocardial ischemia
(MSIMI).

A recent institutional internal review determined that 26 (or 20.5%) of the 127 study
participants enrolled in the trial did not meet all inclusion/exclusion criteria specified in the
protocol. For example, one key inclusion criteria required that participants be physically capable
of performing an exercise stress test and, if applicable, withhold beta-blocker medication prior to
the test. However, it was discovered that a group of participants did not meet this inclusion
criteria. That is, they were physically unable to perform the required exercise stress tests and/or
did not withhold their beta-blocker medication prior to the exercise stress test.

An independent re-analysis of the study results using data from only those participants who met
all inclusion/exclusion criteria showed that some of the results reported in the publication were
no longer statistically significant. In particular, the difference in the incidence of MSIMI among
participants receiving escitalopram compared to those receiving placebo did not reach statistical
significance, and the overall magnitude of the effect was smaller. For your review, a comparison
of the results of the re-analysis to those published in Table 4 of the JAMA manuscript are
provided in Appendix A (see below) of this document.

Additionally, the following errors were identified:

   a. The number of participants listed in Table 1 as “total with history of diabetes” was
      actually “total without history of diabetes.”
   b. What was presented in the manuscript as resting heart rate was actually weight in kg.
   c. What was presented as weight in kg was actually weight in lbs.
   d. The standard deviations for “trait anxiety” in Table 2 were incorrect.
   e. What was labeled in Table 2 as resting negative affect and resting positive affect was
      actually mean negative affect and mean positive affect.


   DUMC 3950                 TEL: 919.684.5616                 URL: psychiatry.duke.edu        dukehealth.org

   Durham, NC 27710          FAX: 919.681.5489




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      f. The p-values in Table 3 were labeled as Fischer’s exact tests, but were actually chi-square
         tests.
      g. The data presented in Table 4 included an extra placebo patient.
      h. The models in Table 5 were not adjusted for age even though the footnote indicates that they
         were.

Based on the information above, we believe the publication may need to be corrected or
retracted. We are seeking your guidance and recommendations on next steps.

If you have questions or need additional information, please feel free to contact me at your
earliest convenience. I can be reached by phone at (919) 200-9885 and by email at
compt004@duke.edu.

Sincerely,



Scott Compton, PhD
Associate Professor
Director, Clinical Research Unit (CRU)
Department of Psychiatry and Behavioral Sciences, Duke University School of Medicine
Associate Professor of Psychology & Neuroscience, Duke University



CC:     Moira Rynn MD, Chair, Department of Psychiatry and Behavioral Sciences, Duke
          University School of Medicine
        Geeta Swamy MD, Associate Vice President for Research, Duke University; Vice Dean
          for Scientific Integrity, Duke University School of Medicine
        Donna Kessler PhD, Research Integrity Officer, Duke University




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                                                                               APPENDIX A

Table 4. MSIMI Defined by Wall Motion Abnormality and/or LVEF at Baseline and Endpoint
                                                                                                                    From Reanalysis After Removing Patients Failing to Meet
                                                           From Original Publication (N=127)
                                                                                                                            Inclusion/Exclusion Criteria (N=101)
Variable                                   Escitalopram          Placebo       OR (95% CI)        P-value          Escitalopram          Placebo        OR (95% CI)        P-value
Baseline, n (%)
 Overall MSIMI                             63/64 (98.4%)       63/63 (100%)                         >.99           51/52 (98.1%)      49/49 (100%)                          >.991
 Wall motion abnormality only              37/64 (57.8%)       42/63 (66.7%)                                       27/52 (51.9%)     35/49 (71.4%)
 LVEF reduction ≥ -8% only                 9/64 (14.1%)        9/63 (14.3%)                                        8/52 (15.4%)       8/49 (16.3%)
 Both                                      17/64 (26.6%)       12/63 (19.1%)                                       16/52 (30.8%)      6/49 (12.2%)

Endpoint, n (%)
 Overall MSIMI                             37/56 (66.1%)       47/56 (83.9%)        2.68             .03           29/46 (63.0%)     34/44 (77.3%)           1.99            .14
                                                                                [1.09, 6.61]                                                             [0.79, 5.02]
 Adjusted per-protocol, n (%)                                                       2.57             .05                                                     2.16            .13
                                                                                [0.99, 6.66]                                                             [0.80, 5.83]
 Wall motion abnormality (WMA)             22/56 (39.3%)       32/56 (57.1%)                                       16/46 (34.8%)     23/44 (52.3%)
 only                                       [30.2, 48.3]        [47.9, 66.3]                                        [21.0, 48.6]      [37.51, 67.0]
 LVEF reduction ≥ -8% only                  3/56 (5.4%)         4/56 (7.1%)                                         2/46 (4.3%)        2/44 (4.6%)
                                             [1.2, 9.5]          [2.3, 11.9]                                         [0.5, 14.8]       [0.56, 15.5]
 Both                                      12/56 (21.4%)       11/56 (19.6%)                                       11/46 (23.9%)      9/44 (20.4%)
                                            [13/8, 29.0]        [12.3, 27.0]                                        [11.6, 36.2]       [8.54, 32.4]
Imputed primary end point, %
 No MSIMI                                     34.2%               17.5%             2.62             .04               38.9%             24.5%               1.97            .16
                                            [31.6, 36.8]        [15.4, 19.6]    [1.06, 6.44]                         [24.3, 53.4]      [10.3, 38.7]      [0.77, 5.02]
1. P-value from Fisher’s exact test.

Note: With the reduced sample, the lower rate of MSIMI at endpoint in escitalopram participants does not reach statistical significance and the magnitude of the effect is attenuated.
The odds ratio for the association between escitalopram treatment and no MSIMI was published to be 2.68 in completers (2.62 when imputed) and we observe an odds ratio of
1.99 in the reduced sample (1.97 when imputed). If a reason is not found and the endpoint is changed for the one placebo patient who the manuscript classified as having endpoint
MSIMI but whom we do not see the evidence for that classification, then the odds ratio in the original manuscript would have been 2.36 in completers. P-values that were less than
0.05 in the publication are greater than 0.1 in the subset deemed eligible.




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                                            CONFIDENTIAL

December 22, 2020


To:      Eric Velazquez, Maragatha Kuchibhatla, Zainab Samad, Stephen Boyle, Cynthia Kuhn,
         Richard Becker, Thomas Ortel, Redford Williams, Joseph Rogers, Christopher O’Connor

Re: JAMA. 2013;309(20):2139-2149. doi:10.1001/jama.2013.5566

Dear Co-Authors,

As director of the Psychiatry Clinical Research Unit (CRU), I am contacting you regarding the
manuscript published in JAMA on May 22, 2013 entitled, “Effect of escitalopram on mental stress-
induced myocardial ischemia: Results of the REMIT trial.”

A recent institutional internal review determined that 26 (or 20.5%) of the 127 study
participants enrolled in the trial did not meet all inclusion/exclusion criteria specified in the
protocol. For example, one key inclusion criteria required that participants be physically capable
of performing an exercise stress test and, if applicable, withhold beta-blocker medication prior to
the test. However, it was discovered that a group of participants did not meet this inclusion
criteria. That is, they were physically unable to perform the required exercise stress tests and/or
did not withhold their beta-blocker medication prior to the exercise stress test.

An independent re-analysis of the study results using data from only those participants who met
all inclusion/exclusion criteria showed that some of the results reported in the publication were
no longer statistically significant. In particular, the difference in the incidence of MSIMI among
participants receiving escitalopram compared to those receiving placebo did not reach statistical
significance, and the overall magnitude of the effect was smaller. For your review, a comparison
of the results of the re-analysis to those published in Table 4 of the JAMA manuscript are
provided in Appendix A (see below) of this document.

Additionally, the following errors were identified:

      a. The number of participants listed in Table 1 as “total with history of diabetes” was
         actually “total without history of diabetes.”
      b. What was presented in the manuscript as resting heart rate was actually weight in kg.
      c. What was presented as weight in kg was actually weight in lbs.
      d. The standard deviations for “trait anxiety” in Table 2 were incorrect.
      e. What was labeled in Table 2 as resting negative affect and resting positive affect was
         actually mean negative affect and mean positive affect.




      DUMC 3950                TEL: 919.684.5616               URL: psychiatry.duke.edu   dukehealth.org

      Durham, NC 27710         FAX: 919.681.5489




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      f. The p-values in Table 3 were labeled as Fischer’s exact tests, but were actually chi-square tests.
      g. The data presented in Table 4 included an extra placebo patient.
      h. The models in Table 5 were not adjusted for age even though the footnote indicates that they
         were.

Based on the information above, the department has been instructed to submit a notification to
the Editor JAMA seeking guidance and recommendations on next steps. As a co-author you are
also being being notified.

If you have questions or need additional information, please contact me at your earliest
convenience. I can be reached by phone at (919) 200-9885 and by email at compt004@duke.edu.

Sincerely,



Scott Compton, PhD
Associate Professor
Director, Clinical Research Unit (CRU)
Department of Psychiatry and Behavioral Sciences, Duke University School of Medicine
Associate Professor of Psychology & Neuroscience, Duke University



CC:     Wei Jiang, MD
        Moira Rynn MD, Chair, Department of Psychiatry and Behavioral Sciences, Duke University
          School of Medicine
        Geeta Swamy MD, Associate Vice President for Research, Duke University; Vice Dean for
          Scientific Integrity, Duke University School of Medicine
        Donna Kessler PhD, Research Integrity Officer, Duke University




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                                                                                     APPENDIX A

 Table 4. MSIMI Defined by Wall Motion Abnormality and/or LVEF at Baseline and Endpoint
                                                                                                                     From Reanalysis After Removing Patients Failing to Meet
                                                            From Original Publication (N=127)
                                                                                                                             Inclusion/Exclusion Criteria (N=101)
 Variable                                   Escitalopram          Placebo       OR (95% CI)          P-value        Escitalopram          Placebo        OR (95% CI)        P-value
 Baseline, n (%)
  Overall MSIMI                             63/64 (98.4%)       63/63 (100%)                          >.99          51/52 (98.1%)      49/49 (100%)                          >.991
  Wall motion abnormality only              37/64 (57.8%)       42/63 (66.7%)                                       27/52 (51.9%)     35/49 (71.4%)
  LVEF reduction ≥ -8% only                 9/64 (14.1%)        9/63 (14.3%)                                        8/52 (15.4%)       8/49 (16.3%)
  Both                                      17/64 (26.6%)       12/63 (19.1%)                                       16/52 (30.8%)      6/49 (12.2%)
 Endpoint, n (%)
  Overall MSIMI                             37/56 (66.1%)       47/56 (83.9%)         2.68             .03          29/46 (63.0%)     34/44 (77.3%)           1.99            .14
                                                                                  [1.09, 6.61]                                                            [0.79, 5.02]
  Adjusted per-protocol, n (%)                                                        2.57             .05                                                    2.16            .13
                                                                                  [0.99, 6.66]                                                            [0.80, 5.83]
  Wall motion abnormality (WMA)             22/56 (39.3%)       32/56 (57.1%)                                       16/46 (34.8%)     23/44 (52.3%)
  only                                       [30.2, 48.3]        [47.9, 66.3]                                        [21.0, 48.6]      [37.51, 67.0]
  LVEF reduction ≥ -8% only                  3/56 (5.4%)         4/56 (7.1%)                                         2/46 (4.3%)        2/44 (4.6%)
                                              [1.2, 9.5]          [2.3, 11.9]                                         [0.5, 14.8]       [0.56, 15.5]
  Both                                      12/56 (21.4%)       11/56 (19.6%)                                       11/46 (23.9%)      9/44 (20.4%)
                                             [13/8, 29.0]        [12.3, 27.0]                                        [11.6, 36.2]       [8.54, 32.4]
 Imputed primary end point, %
  No MSIMI                                     34.2%               17.5%              2.62             .04              38.9%             24.5%               1.97            .16
                                             [31.6, 36.8]        [15.4, 19.6]     [1.06, 6.44]                        [24.3, 53.4]      [10.3, 38.7]      [0.77, 5.02]
 1. P-value from Fisher’s exact test.

 Note: With the reduced sample, the lower rate of MSIMI at endpoint in escitalopram participants does not reach statistical significance and the magnitude of the effect is attenuated.
 The odds ratio for the association between escitalopram treatment and no MSIMI was published to be 2.68 in completers (2.62 when imputed) and we observe an odds ratio of
 1.99 in the reduced sample (1.97 when imputed). If a reason is not found and the endpoint is changed for the one placebo patient who the manuscript classified as having endpoint
 MSIMI but whom we do not see the evidence for that classification, then the odds ratio in the original manuscript would have been 2.36 in completers. P-values that were less than
 0.05 in the publication are greater than 0.1 in the subset deemed eligible.




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                                            March 18, 2022

VIA E-MAIL ONLY
Phil B. Fontanarosa, MD, MBA
Interim Editor in Chief
JAMA and the JAMA Network

Re:     REMIT Trial

Dr. Fontanarosa,

The article by Jiang and colleagues titled “Responses of Myocardial Ischemia to Escitalopram
Treatment (REMIT)”1 published in the March 22, 2013 issue of JAMA included the results from
an original investigation conducted at Duke University from 2007 to 2011. The main goal of this
double-blind, placebo-controlled, randomized clinical trial was to evaluate the effects of 6
weeks of escitalopram treatment on mental stress-induced myocardial ischemia (MSIMI) in
adults with clinically stable coronary heart disease (CHD).


A departmental review of this study conducted in 2018 and a subsequent institutional audit
also conducted in 2018 concluded that the trial was not conducted in accordance with the
protocol approved by the Duke Health Institutional Review Board (IRB). Although no evidence
was found that the investigative team altered study records or information presented in the
article, it was identified that individuals were included in the analysis that did not meet
enrollment criteria as provided in the IRB approved protocol.


Re-analysis of the primary outcome data (by an independent statistical team) including only
participants who met all IRB-approved inclusion/exclusion criteria (n=101; 52 in the
escitalopram group; 49 in the placebo group) showed that some of the differences reported in
the original article 1 (based on 127 participants: 64 in the escitalopram group; 63 in the placebo
group) were no longer statistically significant. In particular, the difference in incidence of no

1
   Jiang W, Velazquez EJ, Kuchibhatla M, et al. Effect of escitalopram on mental stress–induced myocardial
ischemia: results of the REMIT trial. JAMA. 2013;309(20):2139–2149. doi:10.1001/jama.2013.5566


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MSIMI among participants who were receiving escitalopram vs those receiving placebo was no
longer statistically significant, changing from 34.2% with escitalopram vs 17.5% with placebo;
OR 2.62 (95% CI 1.06 - 6.44; P=.04) in the original publication (Table 4 in the article, imputed
primary end point) to 38.9% vs 24.5%; OR 1.97 (95% CI 0.77 - 5.02; P=.16) in the re-analysis.


We recommend correction of the published study results using only data and information from
participants who met the IRB-approved inclusion/exclusion criteria in the protocol.



Sincerely,




Geeta K. Swamy, M.D.
Associate Vice President for Research
Vice Dean for Scientific Integrity
Duke Office of Scientific Integrity
Geeta.Swamy@duke.edu




             2812 Erwin Road, Suite 306 DUMC Box 102846 Durham, NC 27705 DOSI@duke.edu




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             Wei Jiang, M.D. Professor
             Department of Psychiatry & Behavioral Sciences
             Department of Medicine


Howard Bauchner, MD, Editor in Chief of JAMA and the JAMA
NetworkHoward.Bauchner@jamanetwork.org

Annette Flanagin, RN, MA, FAAN, Executive Managing Editor
Annette.Flanagin@jamanetwork.org

April 8, 2021

Dear Drs. Bauchner and Flanagin:

This email is to update you on the response requested by Dr. Bauchner in his email of March 24,
2021.

I am still in the process of gathering the requested IRB documentation. I have been able to
obtain much of it, but am still missing the IRB approvals from intermittent years of the study.

In addition, I am continuing to coordinate a response from my co-authors as requested
regarding the evaluation of the REMIT study data by the CRU of psychiatry department which
excluded data from participants which the JAMA article included. As stated previously, the data
analysis in the JAMA article by the co-authors used the intention-to-treat analysis (McCoy
2017*) because it allows the "investigator (or consumer of the medical literature) to draw
accurate (unbiased) conclusions regarding the effectiveness of an intervention. This method
preserves the benefits of randomization, which cannot be assumed when using other methods
of analysis."

I hope to have a final response to you by Friday, April 16. Thank you for your patience.

Sincerely,




Jan Wei Jiang



   * C. Eric McCoy, MD, MPH. Understanding the Intention-to-treat Principle in Randomized
   Controlled Trials. West J Emerg Med. 2017 Oct; 18(6): 1075–1078. Published online 2017


      DUMC Box 3670 ● Durham, NC 27710 ● Telephone (919) 668-0762 ● Fax (919) 684-5271



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       Wei Jiang, M.D. Professor
       Department of Psychiatry & Behavioral Sciences
       Department of Medicine


Sep 18. doi: 10.5811/westjem.2017.8.35985 PMCID: PMC5654877 PMID: 29085540 (See
specified quote from the article below in Italic)

*" . . . [P]atients in clinical trials do not always adhere to the protocol. Excluding patients
from the analysis who violated the research protocol (did not get their intended treatment)
can have significant implications that impact the results and analysis of a study. Intention-
to-treat analysis is a method for analyzing results in a prospective randomized study wh ere
all participants who are randomized are included in the statistical analysis and analyzed
according to the group they were originally assigned, regardless of what treatment (if any)
they received."




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    Wei Jiang, M.D. Professor
    Department of Psychiatry & Behavioral Sciences
    Department of Medicine


April 19, 2021

Phil B. Fontanarosa, MD, MBA
Executive Editor                                                    VIA EMAIL
JAMA and JAMA Network                                               Phil.fontanarosa@jamanetworks.org
P.O. Box 10946
Chicago, IL 60654

Re: JAMA. 2013;309(20):2139-2149. doi:10.1001/jama.2013.5566

Dear Dr. Fontanarosa:

This letter is in response to the email from Dr. Howard Bauchner dated March 24,
2021, in which he requests a response from me, Dr. Christopher O’Connor, and two
other authors of the above-referenced publication regarding the following topics:

         1. Analysis of data collected during the study which was the basis for the
            above referenced published article with regard to the inclusion and
            exclusion criteria published in the original protocol 1; and

         2. IRB concerns about protocol deviations.

These responses will be provided in reverse order for reasons of clarity. In addition, I
include a third section which points out several inaccuracies in the letter from Scott
Compton regarding the participants he believes should be excluded from the data
analysis.

IRB Re: Protocol Deviations

IRB documents pertaining to the REMIT study1 are attached to this letter as Exhibit
A 2. These documents show that the IRB review of REMIT found no concerns about


1
   Jiang W, et al. Responses of mental stress-induced myocardial ischemia to escitalopram treatment: background,
design, and method for the Responses of Mental Stress Induced Myocardial Ischemia to Escitalopram Treatment
trial. Am Heart J. 2012;163:20-6.
2
  The IRB documents in Exhibit A include approvals during the REMIT study (2006-2011) and also those in
response to the internal Duke audits during 2018-2019 initiated by Dr. Moira Rynn, who became head of the
Psychiatry Department in 2017. Dr. Rynn has stated that she initiated the reviews of the REMIT study based on


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Letter to Phil Fontanarosa, MD, MBA
April 19, 2021
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the conduct of the study, data analysis, or patient safety.

As I informed Dr. Rynn, Dr. Compton, Duke IRB, and Duke SCMR in response to
every internal Duke audit, the investigators amended the protocol to omit the
eligibility requirements for temporary beta blocker discontinuation and/or required
exercise stress testing due to patient safety considerations. If the patient was treated
with beta blockers at baseline, the endpoint evaluation was also performed on beta
blocker therapy.

The primary purpose of REMIT was the evaluation of mental stress-induced
myocardial ischemic, Therefore, exercise stress testing was not required to evaluate
the hypothesis. The beta blocker and exercise testing components were not necessary
for the primary study objective and were taken into account in the analysis of
secondary endpoints. Distinguishing MSIMI and exercise-induced myocardial
ischemia is clinically and mechanistically relevant.

Finally, Duke IRB policy did not then and does not now require prior IRB approval
for protocol amendments necessary to protect patient safety. See IRB policy
“Amendments to Previously Approved Research,” current as of 03.01.2016. In
addition, see IRB policy “Problems or Events That Require Prompt Reporting to the
IRB”, (current as of 08.09.2019, (hereinafter IRB policies) 3. See also 45 C.F.R. §
46.108(a)(4)(i) (reporting required for unanticipated problems involving risks to
subjects) and 46.108(a)(3)(iii)(prompt reporting to IRB not required when necessary
to eliminate hazards to subject); 21 C.F.R. § 56l.108(b)(1) (requiring IRB notification
of unanticipated problems involving risks to subject in FDA regulated clinical
investigations) (hereinafter CFR regulations).

The Psychiatry Department Clinical Research Unit (CRU) audited the REMIT study
and found no patient safety concerns and no evidence of research misconduct.
Notably, the REMIT study began in 2006 prior to any of the institutional
requirements that the 2018 audit team applied to the study. The Duke Office of
Clinical Research applied policies to the REMIT study that were adopted after 2011
and were not in effect at the time of the study. In addition, the CRU auditors
acknowledged that it was “common to amend forms throughout the life cycle of a
trial.” The audit team also noted that during the REMIT study, Duke was
transitioning from paper record-keeping which the REMIT study used in 2006, to
electronic record keeping, which began during the conduct of the REMIT study.


allegations she claimed she received from Pamela Bonner, my research coordinator who was with me between May
2017 to April 30, 2018, but Ms. Bonner denied making any allegations.
3
 Duke's IRB follows federal law under OHRP. https://www.hhs.gov/ohrp/sachrp-
committee/recommendations/2012-march-30-letter-attachment-c/index.html- 79k- 2016-04-26


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Letter to Phil Fontanarosa, MD, MBA
April 19, 2021
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Dr. Rynn escalated the departmental audit to the Duke Office of Audit, Risk &
Compliance (OARC). This OARC audit confirmed the findings of the department but
did not identify any new concerns. Nevertheless, my laboratory manager and
statistician, Stephen Boyle and I collaborated on a response which was submitted to
the OARC on October 18, 2018, fully explaining the protocol changes alluded to above.
In a meeting on November 13, 2018, with Greg Samsa and Donna Kessler of the Data
Integrity Office, Stephen Boyle and I were also told the fact that the protocol
implementation without formal IRB amendment submission was a common issue
observed by the Duke Clinical Research Institute when reviewing clinical trials.

On December 26, 2018, the Duke IRB reviewed the OARC report and our response.
They concluded that the audit identified no Unanticipated Problem Involving Risk to
Subjects or Others (UPIRTSO). In addition, the IRB stated it could not provide an
opinion on the data reporting without additional independent, expert review of the
conduct of stress tests in relationship to the echocardiograms. The IRB stated that
“Dr. Jiang and her co-investigators . . . with the support of the CRU and
School of Medicine, should seek independent expert opinion on these issues
and report back to the Board with their conclusions.”

The IRB’s recommendation for “independent” and expert” evaluation of the REMIT
study was not followed by Dr. Rynn. Instead, Dr. Rynn directed the Psychiatry
Department CRU to conduct another evaluation of the data collected and used in
the data reporting. In keeping with the IRB recommendation for an independent
expert evaluation, I decided to reach out to my co-investigator cardiologists to consult
on obtaining such an evaluation. However, when I informed Dr. Rynn that I intended
to reach out, Dr. Rynn essentially forbade me from doing so as Psychiatry
Department chair.

The Duke IRB reviewed the second audit conducted by the Psychiatry Department
CRU of the REMIT study and again determined that no UPIRTSO had occurred in
December 2018.

In 2019, despite the consistency of multiple audits and reviews that found no
significant concerns and the recommendation for an independent review of the trial,
Dr. Rynn, escalated her allegations about the REMIT study to U.S. Health and
Human Services (HHS) Office of Research Integrity (ORI) to conduct an inquiry into
allegations of possible falsification of the REMIT clinical research records which
would constitute professional misconduct. Falsification under ICMJE and COPE
guidelines is quite specific as are the processes to be followed when suspected. In
addition, falsification and fabrication imply intent to mislead. Dr. Rynn had no
factual basis from any of the previous audits to suspect falsification under the ICMJE
or COPE guidelines or any intent to mislead by the authors of the JAMA article.



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Letter to Phil Fontanarosa, MD, MBA
April 19, 2021
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Subsequently, Dr. Rynn commissioned the Duke Standing Committee on Misconduct
in Research (SCMR) to conduct the evaluation for the HHS ORI inquiry. In March
2019, a statistical re-analysis of the primary REMIT study outcomes reported in the
JAMA 2013 article was conducted by statisticians at the Duke Clinical Research
Institute (DCRI). Again, this analysis was not “independent” as it was still internal
to Duke and none of the SCMR evaluators were cardiologists (see Exhibit B).
Moreover, the Duke Research Quality Framework policy specifically states that an
external, independent review should be undertaken for research that is
considered questionable or conflicted.

In September 2019, I met with Paul Lantos, Jody Power, and Walter Lee, Chairs of
the Duke IRB to discuss the draft conclusions of the SCMR. Paul Lantos emailed me
after the meeting on October 26, 2019:

      “Thanks again for coming over to meet us. We acknowledge your concern about
      whether a reevaluation of the echo data from the REMIT study might cast doubt
      on your findings primarily due to advances in echocardiography in the years
      since REMIT was done.

      We hopefully provided some reassurance that this would be an unlikely
      outcome, as our goal is not to reevaluate 2006 science using 2019 eyes. There is
      really a spectrum of outcomes, with the extremes being that an audit fully
      confirms the original findings or it’s completely incompatible with them. In
      between these two there could certainly be a gray area in which the original
      findings would be seen as reasonable. If it happens that the audit finds major
      fault with the original findings, I can’t imagine that this would lead to a
      summary judgment or action without first diving deeper into these findings,
      and certainly making sure you and your collaborators aware.

      I believe that was the understanding we reached during the meeting. Please let
      me know if there is anything you believe I missed.”

In addition, Dr. Lantos had previously confirmed in an email on October 19, 2019,
that in his position on the IRB, he understood the IRB’s “mandates” to be “subject
safety, scientific integrity, and compliance with regulations and laws.” He indicated
that if an “incompatibility” was discovered between the original findings and the
audit,

      “our next step would be to figure out what it means, and it's hard to speculate
      before the audit is done. But I hope you'll see this as an opportunity to confirm
      your studies' validity in light of the audit and the enrollment concerns. We'll
      certainly keep you posted.”



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On November 26, I again conferred with the Duke IRB chair Paul Lantos and also
with Ombudsman Thomas Metzloff because I had serious concerns about the
methodology of the re-analysis. 4 I again expressed my desire to consult with the
REMIT cardiology co-investigators / collaborators who provided the original
cardiology and statistical analysis due to their expertise in echocardiography. I
explained that Dr. Rynn had instructed me NOT to reach out to the original study
team because they were no longer at Duke, indicating again that she did not want
any independent evaluation of the study.

Dr. Lantos emailed me and indicated that he “wanted to confirm, having spoken with
Jody Powers, that the IRB would like the cardiologists who were on your study to
have the opportunity to review and respond to the echo audit, even if they are no
longer at Duke.” In fact, Dr. Lantos had previous stated to me on November 26, 2019:

        “My personal point of view is you did your science as a team and it should be
        the team that responds to an audit or investigation, especially for something
        like echo interpretation or statistics for which you have coinvestigators who are
        experts.

        I do not think we as the IRB have any authority to tell you whom you can or
        can’t consult with, nor do we have the authority to override instructions from
        others to NOT speak with anyone.

        Tom will be able to answer this better than I, but I’m not sure you can really be
        prohibited from speaking with someone unless it’s on the advice of Duke counsel
        or it’s a case of protected information that can’t be shared. It’s worth contesting
        any instructions you’ve gotten to not speak with your collaborators if you feel
        they are unfair or against policy.”

In summary, with regard to Dr. Bauchner’s original query regarding the position of
the IRB on the conduct of the REMIT study, despite the fact that the various internal
Duke reviews were not “independent” or “expert” as recommended by the IRB, none
of the IRB reviews found any patient safety issues. As for the quality of the data
analysis, the reviews were all fairly confirmatory of the original statistical analysis
(as discussed below).

Data Analysis regarding Inclusion/Exclusion Criterion

Scott Compton and Moira Rynn have raised concerns about the analysis of data
collected during the REMIT study. They believe that the JAMA article analysis

4
  A summary of the flaws in the re-analysis signed by REMIT study co-investigators and co-authors of the JAMA
article is attached to this letter as Exhibit B.


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should have excluded data from 26 of the participants because they did not meet the
inclusion and exclusion criteria published in the original protocol 5. On the other
hand, I and the co-investigators are of the opinion that those participants must be
included because the data analysis method used in the JAMA article was the most
reliable ITT (intention to treat) method.

Specifically, the data was analyzed and reported in the JAMA article using the
intention-to-treat (ITT) analysis 6 (McCoy 2017) because ITT data analysis allows the

        investigator (or consumer of the medical literature) to draw accurate (unbiased)
        conclusions regarding the effectiveness of an intervention. This method
        preserves the benefits of randomization, which cannot be assumed when using
        other methods of analysis.

Even if the statistical analysis done by the Duke DCRI statisticians is used, it is clear
and in their own words that “the results obtained from this reduced patient sample
are in general very similar to the results published in JAMA.” (See Exhibit B).
Specifically, the re-analysis shows a potential benefit of SSRI at 6 weeks. The OR is
favorable, the p-value is no longer significant, but the trend aligns with the primary
hypothesis. The number of subjects was below the original target and modest to the
point that p-values are less impactful.

In addition, the method section of the original JAMA paper clearly states that ITT
would be used. The primary outcome of presence of MSIMI at 6 weeks and its
association with treatment assignment was examined under intention-to-treat (ITT)
principle using logistic regression. We used multiple imputation techniques 7 to
compensate for potential bias introduced by missing endpoint data. The imputed
model to predict the outcome consisted of age, baseline resting EF, sex, and the
treatment variable. For our primary outcome, unadjusted and adjusted imputed
logistic regression models provided odds ratios and 95% confidence intervals (CIs) for
the association of the study intervention with MSIMI. The Hosmer-Lemeshow
statistic was reported as an index of goodness of fit for this model. For the primary
outcome, per-protocol analysis was also conducted on participants who completed
both baseline and endpoint assessments.

Inaccuracies in Letter from S. Compton



5
  See 1. For the reference of the REMIT method paper in American Heart Journal 2012.
6
  Understanding the Intention-to-treat Principle in Randomized Controlled Trials C. Eric McCoy, MD, MPHWest J
Emerg Med. 2017 Oct; 18(6): 1075–1078. Published online 2017 Sep 18. doi: 10.5811/westjem.2017.8.35985
PMCID: PMC5654877 PMID: 29085540
7
  Schafer JL. Multiple Imputation: A primer. Statistical Method in Medical Research. 1999;8:3–15.


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The number of protocol deviations in the REMIT study participants listed in Table 2
of Scott Compton’s letter to JAMA (March 15, 2021) is incorrect. 8 Of the 26 REMIT
subjects claimed by Scott Compton to be “ineligible,” 7 of those individuals had no
issues of protocol deviation; 19 REMIT subjects who were not able to comply with the
temporary beta blocker withhold (N=11), with the exercise test (N=6), and with both
(N=2). (See Exhibit C). Ultimately, they were approved for inclusion by the IRB in
January 2019 and no UPIRTSO was found by the IRB (See Exhibit A).

Since the statistical analysis plan of the REMIT study for the primary study l was
ITT, the p-values would have remained statistically significant as originally reported
in the JAMA article.

Conclusion

My co-investigators (three of whom are copied below) and I continue to stand by our
original article, with the exception of the very few typographical errors noted in my
original letter to you on December 18, 2020. I urge you to reach out to us if you still
have questions regarding either IRB approvals or the data analysis in the article.

Sincerely,




Jan Wei Jiang

    Attachments:          Exhibit A (IRB documents)
                          Exhibit B (Duke DCRI analysis excerpt)
                          Exhibit C (Jiang Response to IRB inquiry (via Scott Compton)
                               re ineligible subjects




8
 Since January 2019, Scott Compton has been aware that the numbers of subjects he claims did not fit the protocol
are incorrect because of the response I submitted to him and the IRB at that time.


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cc:   Annette Flanagin, MD (via email)
      Executive Managing Editor

      Christopher O’Connor, MD (via email)
      Richard Sean Stack, M.D. Distinguished Professor/Duke University and
      President of Inova Heart and Vascular Institute

      Richard C. Becker, MD (via email)
      Professor of Medicine, University of Cincinnati College of Medicine and
      Director and Physician-in-Chief, UC Heart, Lung and Vascular Institute

      Joseph G. Rogers, MD (via email)
      Professor of Medicine/Chief Medical Officer Duke University Health System




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